                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                         CASE NUMBER 1:20CV66

JANE ROE,                                            )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )
                                                     )
UNITED STATES OF AMERICA, et al.,                    )
                                                     )
       Defendants.                                   )


                        DECLARATION OF WILLIAM MOORMANN

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct:

        1.     I am the Administrative Officer for the Federal Defender’s Office for the Western
District of North Carolina (FDO-WDNC). I have served in the FPDO-WDNC since 2006 and
assumed duties as Administrative Officer in 2013. I am and have been since 2013 the local contact
for human resources and personnel issues, among many other duties. Part of my duties are to
maintain all personnel documents and any other documents relating to employment. A true and
accurate copy of my job description is published in the DOCS Manual described in this Declaration
and attached as Government Exhibit (“GE”) A-1.

        2.      This declaration is based upon my personal knowledge and the procedures
applicable to FDOs across the country, including the Defender Organization Classification System
Manual (“DOCS Manual”), the Administrative Office of U.S. Courts procedures, and the Fourth
Circuit’s Employee Dispute Resolution (“EDR”) Plan. The DOCS Manual is created and
distributed by the Defender Services Organization (“DSO”). The DSO is a national program
established to ensure the right to counsel guaranteed by the Sixth Amendment, the Criminal Justice
Act, and other congressional mandates relating to indigent criminal defendants. The DSO also
ultimately determines the distribution of the annual budget in the FDO system. The FDO-
WDNC’s budget is, therefore, set at the national level, not locally.

       3.     True and accurate copies of the Introduction, Table of Contents, and “General
Information and Key Terms” portion of the DOCS Manual are attached as GE A-2a and 2b. The
DOCS Manual and many other materials relating to employment in an FDO are and were during




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the Plaintiff’s employment accessible via the DSO’s intranet system to all employees who have an
e-mail address ending in “fd.org.”

         4.    On August 19, 2016, Plaintiff applied for a position as a Research & Writing
Specialist with the FDO-WDNC in the Charlotte office, to begin the following summer after her
completion of a year as a Supreme Court Fellow. A true and accurate copy of Plaintiff’s cover
letter and resume are attached as GE A-3.

         5.      On March 24, 2017, Ross Richardson, the Interim Public Defender at the time, sent
a letter to Plaintiff formally offering her a Research & Writing Specialist position in “the Charlotte
Headquarters Office.” She was to begin between July 15 and August 15, 2017. Her start date was
August 21 2017 and her salary as a Research & Writing Specialist was set at $101,929.00 per year
according to the General Schedule (“GS”) 14, Step 1, with the expectation that she would
“transition to an Assistant Defender” (“AFD”) at an unspecified time in the future. A true and
accurate copy of Plaintiff’s countersigned offer letter is attached as GE A-4.

        6.      A true and accurate copy of the job description for Research & Writing Specialist
from the DOCS Manual is attached as GE A-5. The Research and Writing Specialist Attorney
position is a developmental and trial and appellate support position for attorneys who did not have
substantial directly relevant career experience. As stated in the job description, “[t]he Research
and Writing Specialist does not ordinarily sign pleadings or make court appearances. The
Research & Writing Specialist position is not intended to serve as a proxy, substitute, or
replacement for an AFD position, nor in the place of an additional AFD position.” These
employees do not handle their own caseloads.

        7.      Since graduating from law school in 2013, Plaintiff had two federal clerkships, one
state-level clerkship, and a one-year Supreme Court fellowship, but did not have any first-hand
experience trying cases or representing clients. She also had no first-hand experience defending
criminal defendants in the federal system or otherwise. Based on what plaintiff told us, she had
not tried a case as first or second chair.

        8.     Typically, the FDO-WDNC hires attorneys with substantially more trial and career
experience than Plaintiff had because of the importance of the defense function and because the
FDO budget is limited, resulting in fewer attorneys who could devote time to training of less
experienced lawyers like the Plaintiff. At the time, there were also a limited number of AFDs the
office was able to have due to budgetary restrictions imposed by the DSO.

        9.      Since Plaintiff’s hire, the FDO-WDNC has, like most other FDOs throughout the
country, transitioned away from employing Research & Writing Specialists. Instead, lawyers new
to the FDO begin as AFDs. However, just like other junior lawyers, inexperienced AFDs are not
immediately given their own cases to handle, generally do not appear in court without another

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attorney, nor do they make ultimate decisions about how to handle cases. With time and
experience, these lawyers are given tasks the Defender or the Team Leaders feel the attorney is
ready to handle. Eventually with sufficient first-hand trial and criminal litigation experience,
successful AFDs will begin to handle their own cases and their careers progress accordingly.

       10.    This progression is not unique to the Plaintiff and is not a punishment or a reflection
on performance. It is simply a result of the fact that first-hand court (including motions practice
and especially trial) and client representation experience is a necessary part of attorney
progression. This is especially important when representing criminal defendants.

        11.   Research & Writing Specialists are paid on the “GS” pay scale set by Congress for
federal employees. True and accurate copies of the 2017 and 2018 GS Salary Charts for the
Charlotte-Concord-NC-SC geographic area, along with Locality Pay Tables for Geographic Areas
and     other  information   regarding     federal    pay     are  publicly     available   at:
https://www.opm.gov/policy-data-oversight/pay-leave/pay-systems/general-schedule/.

       12.     The GS pay structure applies to all the employees of the FDO-WDNC except for
the Defender and the AFDs, who are in “unrated” positions. There is guidance generally
determining when a GS employee is eligible for grade and step changes. The current Defender
has never “skipped” an employee on the GS pay scale up several steps of pay at a time.

        13.   All the employees, whether in the GS system or not, of the FDO-WDNC are “at-
will” employees who can be terminated by the Defender at any time. Employees may also resign
at any time. There is no guarantee of continued employment for any of us.

        14.     On October 30, 2017, Plaintiff received a step increase from GS 14, Step 1 to GS
14, Step 2, which resulted in Plaintiff’s salary increasing from $101,929 to $105,327. GE A-6.
This advancement from Step 1 to Step 2 is automatic unless the Defender affirmatively takes action
to block the Step increase. The Defender did not take action to block the Plaintiff’s increase.
There are 10 Steps [GS-14, step 1 through GS-14, step 10] within GS-14 before employees become
eligible for a GS-15 position.

       15.    On January 8, 2018, Plaintiff received a cost of living increase bringing her salary
to $107,319. GE A-6.

        16.     In May of 2018, at the time Plaintiff raised the issue of being promoted to GS-15,
the guidelines for promotion to GS-15 stated that 10 years of experience in the federal GS system
is required to be eligible for promotion to GS-15. Plaintiff had slightly less than 4 years’ federal
government employment at that time, about 9 months of which was with the FDO-WDNC.



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                                         Reclassification
       17.     On August 20, 2018, at Plaintiff’s request, Plaintiff was reclassified from Research
& Writing Specialist to an AFD. GE A-7 is a true and accurate copy of the reclassification request,
submitted to the DSO on or about August 16, 2018. The office’s other Research & Writing
Specialist was also reclassified at the time.

        18.    A move from a Research & Writing Specialist position to an AFD is considered to
be a promotion on a long-term basis, even though it may not come with immediate compensation
increases or responsibilities. Unlike Research & Writing Specialists, AFDs have direct exposure
to the U.S. Government and its many resources (i.e. our opposing party), and all that entails. They
face the challenges of dealing directly with sophisticated government agencies involved in the
criminal justice system like the FBI. Research & Writing is often a key part of the job, but the
advocacy and trial exposure on behalf of a client is the crux of the position. A true and accurate
copy of the job description for Assistant Federal Defender is attached as GE A-8.

        19.    As noted above, the compensation for the Research & Writing Specialist position
was governed by the GS for federal employees. In contrast, AFD positions are governed by a
different pay structure for “ungraded” employees known as the AD system. Other differences
between the two positions are significant.

               a.     Different Pay Structures. Research & Writing Specialists, although they
                      are lawyers, are classified as a “support” function, and are paid according
                      to the DOCS Manual under the GS pay scale. GE A-2b, § 3(B)(1). AFDs
                      are paid on an “ungraded” basis at “[p]ay rates not to exceed those paid to
                      individuals of similar qualifications, experience, and responsibilities in the
                      Office of the United States Attorney (USAO) for the same district.” GE A-
                      8 § E.

               b.     Pay Difference: The AFD position has a much greater long-term pay
                      potential. Employees operating under the GS system cap out at
                      $158,811.00. On the other hand, an AFD caps out at $161,288.00 based on
                      the current pay structures. However, at the beginning of the AFD’s career,
                      the pay scale is lower than that of a GS employee with Plaintiff’s level of
                      experience at the time.

               c.     Time to Max Out Pay: It takes an attorney starting as a GS 14, step 1
                      twenty years to reach the maximum pay amount under the GS. In AFD
                      positions, it only takes nine years to max out pay. In other words, the pay
                      scale is higher, long term, for AFDs than for GS employees.


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               d.     Career Progression: Additionally, serving as an AFD is typically viewed
                      as a more prestigious position. Those in the AFD position—as opposed to
                      the Research & Writing position-- can serve in a broader range of capacities,
                      including eventually handling direct trial and appellate work. As noted,
                      Research & Writing Attorneys are not permitted to handle their own cases,
                      or to appear in court without another attorney except for occasional minor
                      procedural motions hearings. In my experience, Research and Writing
                      Attorneys have been offered that transfer take the offer because of (1) the
                      greater maximum pay as an AFD as opposed to a GS employee, (2) the
                      accelerated movement to the maximum pay as an AFD, and (3) the greater
                      professional opportunities and prestige as an AFD. Not all Research &
                      Writing Specialists are offered the AFD position. Some of them are offered
                      it, but only after several years of experience as a Research & Writing
                      Specialist.

        20.     As mentioned, the reclassification form Research & Writing Specialist to AFD
required Plaintiff to move from the GS system to an “ungraded” AD pay system. Because the
rules for calculating salaries differ between the two systems, adjustments had to be made to ensure
Plaintiff did not have to take a pay decrease because of the transition.

        21.     In August of 2018 at the time of the transition, Plaintiff as a Research & Writing
Specialist was making a salary of $107,319.00 per year. Under the ungraded AD System, with
Plaintiff’s 1 year of service in the FDO-WDNC, plus her prior experience in clerkships and the
Supreme Court fellowship, the Defender could have set Plaintiff’s salary between $66,254.00 and
$101,036.00. The absolute maximum the Defender was permitted to pay Plaintiff under the
ungraded AD System would have been $101,038.00 (including locality pay) per year, which would
have resulted in an annual pay decrease of $6,319.00 for the Plaintiff.

       22.      The Defender had a choice of reclassifying Plaintiff with the maximum AD salary
of $101,038.00 (which included 16.21% locality enhancement for the Charlotte, NC area) for an
AFD, or to use a “Red Circle Rule” in the DOCS Manual. Under the Red Circle Rule, the
Defender, in his discretion, is authorized to compensate a reclassified employee like Plaintiff the
same amount the employee previously earned under the GS scale. The Defender instructed that I
apply the Red Circle Rule in Plaintiff’s case, which resulted in Plaintiff continuing to receive
$107,319.00 (locality pay included), and which was above the top of the GS salary range and the
maximum the Defender was authorized to pay Plaintiff. Attached as GE A-9 is a true and accurate
copy of the Request for Personnel Action submitted wherein the Defender’s instructed me to
ensure Plaintiff’s salary remained at $107,319.00.




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                                        Appellate Position

        23.     On July 25, 2018, the FDO-WDNC advertised an Appellate Position for an AFD.
The following day, the Defender sent out an e-mail to all FDO-WDNC employees providing the
job description and additional information about the position stating, in part, “This AFPD will be
stationed in Charlotte. Like Jared and [Plaintiff], the new position will divide time between
providing support for the trial teams and assisting with our appellate and post-conviction practice.”
A true and accurate copy of the job posting is attached as GE A-10a, and a true and accurate copy
of the e-mail sent by the Defender to the FDO-WDNC is attached as GE A-10b.

        24.    As a result of prior Sequestration and uncertain budgets, that Appellate AFD
position was going to be filled as a “term” position. As a term position, the Appellate AFD position
was only for a period of one year and one day.

       25.     At that time Plaintiff was already in a long-term position, soon to be reclassified as
an AFD position, with no specific ending date. It would have been detrimental to Plaintiff for her
to move from a permanent position to a term position with a finite end date. Because Plaintiff was
already in a long-term position that was imminently being reclassified as an AFD position, there
was no reason for her to apply for or interview for the term position. Basically, she would have
already had a better version of the position for which she was applying.

        26.     Junior-level AFDs are generally given “hybrid” responsibilities between the trial
and appellate divisions, so the FDO-WDNC can determine which track suits their skills and
interests best. Sometimes, there is a need for one or the other. Other times there is a need for an
AFD to remain in the “hybrid” category depending on the type of work and the make-up of the
office at any given time.

        27.     At the time the position was advertised, it was anticipated that there would be
enough work in the Charlotte office to support three additional AFD’s if the Research & Writing
Specialists were reclassified: (1) Plaintiff; (2) the other attorney who was reclassified at the same
time as Plaintiff; and (3) the person who would fill the advertised term position.

        28.    Like all AFD positions, these had to be requested from, authorized by, and
approved by the local Defender, the Circuit, and the DSC. GE A-2b § 3(B)(2). All 3 of the
positions were authorized.

       29.     A true and accurate copy of the offer letter sent to the candidate who ultimately
accepted the position is attached as GE A-11. The letter identifies the position as a “Term (Year
and one day)” position. That individual’s pay was not subject to the “Red Circle Rule” and was
accordingly in keeping with the pay structure applicable to AFDs. Even though the woman who


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filled that position had more experience than Plaintiff, she was paid less than Plaintiff because of
the Defender’s ability and decision to apply the Red Circle Rule to Plaintiff.

                                            Work Space
        30.   As Administrative Officer, I am and have been responsible for the physical facilities
within the FDO-WDNC for many years.

         31.   When determining where employees are placed within the FDO-WDNC and the
size of each employee’s workspace, the FDO-WDNC complies with the General Services
Administration’s (“GSA”) Space Planning Guide. The GSA is a governmental agency responsible
for all government leasing.

        32.    Research & Writing Specialists, like paralegals and other categories of employees,
are designated 150 square feet of rentable space. Larger offices and most offices with windows
are reserved for the Defender, the AFDs, and certain senior-level staff.

        33.     Specifically in anticipation of Plaintiff’s hire and in July of 2017 before she started
work, the FDO-WDNC spent nearly $10,000 to renovate a former File Room and convert it into a
comfortable office large enough to hold two employees. True and accurate copies of the invoices
for this upfit are attached as GE A-12. The space has never been a “utility,” “storage,” or any
other type of “closet” since the conversion in July of 2017.

       34.     In compliance with the GSA Space Planning guidelines, when Plaintiff began
working, she was placed in this shared, partitioned interior office with one other employee.
Privacy panels were erected between the two workspaces. Photographs of that office are attached
as GE A-13a (Overview of entire office) and GE A-13b (Plaintiff’s specific portion of the office).
The office had 396 square feet, was well lighted, fully furnished, and complied with North Carolina
building code and occupancy requirements.

       35.     In late August of 2018, Plaintiff was provided a private office when one became
available and when she became an AFD, which, coincidentally, both happened around the same
time. A true and accurate copy of my e-mail to her regarding the new office is attached as GE-
A14a Plaintiff never moved into that office, nor did she respond to my e-mail. A true and accurate
photograph of Plaintiff’s AFD office is attached as GE A-14b.

         36.    Rather than move into her new office as expected, Plaintiff came to clean out her
personal belongings from the FDO-WDNC while everyone else in the office was at an office
retreat in October of 2018. Plaintiff was asked, but not required, to attend the retreat but chose not
to respond either way as to her intent.



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                                            Telework

       37.     In 2017 and up to the present (except during the coronavirus pandemic), the FDO-
WDNC did not authorize telework; however, at Plaintiff’s request on or about August 17, 2018,
the Defender authorized Plaintiff to telework as she requested. The Defender advised me of this
authorization at that time.

       38.    Others have requested telework in the past but, until coronavirus in 2020, it has
never been permitted on any long-term basis. I would be the person who would handle any
paperwork associated with teleworking.

       39.     Attached as GE A-15a is a true and accurate copy of the Plaintiff’s telework
agreement, which I personally sent to Plaintiff on September 10, 2018, via e-mail. Plaintiff
returned the completed agreement to me on October 2, 2018 after prompting from me. A copy of
the e-mail correspondence with Plaintiff is attached as GE A-15b.

        40.     The telework agreement clearly states that “[e]ither management or the employee
may terminate participation in telework at any time.” Plaintiff could have returned to her duty
station in the Charlotte office at any time but chose to continue to telework. She was never
“forced” to telework, and her private office was available to her at any time.

       41.     In the telework agreement, Plaintiff stated she was working from her home in
       NC.          is approximately 90 miles from Charlotte. Plaintiff did not inform me, as the
Office Administrator, of her move outside the Charlotte area. Her address was never changed or
updated in our personnel system by her or anyone else and was always listed as a Charlotte address.

        42.     Plaintiff did submit a “Health Benefits Election Form” on April 3, 2018 requesting
to add her future spouse to her health insurance effective April 28, 2018, due to a change in marital
status on April 28, 2018. The address listed for her future spouse was identified as a Post Office
Box in        North Carolina.         is an unincorporated town approximately 1-2 miles away from
        North Carolina. A true and accurate copy of the Health Benefits Election Form is attached
as GE A-16.

        43.    Additionally, since Plaintiff was teleworking from a location outside of the
Charlotte metropolitan area, she technically was no longer eligible for the locality adjustment.
Since the telework was always intended to be temporary, the Defender chose not to remove that
locality adjustment and continued to pay her the adjustment.




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       44.    The closest cities to         NC with federal courthouses are Asheville, NC
(approximately 35 miles away) and Greenville/Spartanburg SC (each approximately 30 miles
away). None of those geographic locations have locality adjustments.

        45.     Employees frequently approach us requesting transfers to the Asheville office. It
is a sought-after location, and AFDs senior to Plaintiff have asked that we consider allowing them
to move in the unlikely event a full-time AFD opening arises in Asheville. We do not and have
not had physical space in that office to accommodate these requests. In fact, the interns who are
hired in the summer share an office with the Defender, who uses it when he works in Asheville.
There is also significantly more work in Charlotte so most of our attorneys are needed in Charlotte.

                   No Adverse Employment Actions Taken Against Plaintiff


        46.    As Administrative Officer, I had responsibility for processing any adverse
personnel action against Plaintiff. Based upon my knowledge as Administrative Officer, neither
the Defender nor any other individual took any adverse action against Plaintiff at any time. There
are also no “performance improvement plans” or other performance-related issues documented in
her personnel file.

        47.     Plaintiff took five days of sick leave during the Summer of 2018. The Defender
instructed that I ensure these days be restored to her sick leave, which I did. Plaintiff was paid the
entire period of her employment, including those days, which were categorized as paid
“administrative leave” days. None of those days counted against any of her leave entitlements.
True and accurate copies of her notifications of those sick leave dates are attached as GE A-17.

        48.    Plaintiff never received a pay decrease, including her locality adjustment. Her
salary remained at the maximum level permitted commensurate with her experience and years of
service through the end of her employment.

                                Plaintiff’s Departure from FDO-WDNC


        49.     On March 22, 2019, I received an automatically generated e-mail from the
Administrative Office of the Courts indicating that Plaintiff had transferred within the judiciary
effective March 18, 2019. This was the first and only notification I received indicating that
Plaintiff would no longer be working at the FDO-WDNC. A true and accurate copy of that e-mail
is attached as GE A-18.




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                              A D MI NIS TRATI VE O F F- IC E R


A. DEFIMTION
The Administrative Officer provides assistance and advice to the Defender on a variety of
administrative and management issues. General areas of direct or supervisory responsibility include:
management and administrative analysis; financial management; personnel administration,
supervision and training; space and facilities management; equipment, telecommunications and
office automation management; and properry, records and procurement management. The
Adminislrative Olftcer is a one-of-a-kind position within a defender organizalion and may not be
combined with other positions in a mixedfunclion.

B. PRIMARY JOB DUTIES

The Administrative Officer performs or supervises the performance of tasks such as the following:

l. General Administration and Management:
       a. Acts as the principal advisor to the Defender on all aspects of office administration and
           management.

       b. Analyzes management issues for the organization. Based on a thorough knowledge of
           the functions, processes and principles of office management and judicial policies and
           procedures, identifies issues in need of study, develops analytical methods, conducts
           investigations and presents fi ndings.

       c. Analyzes the potential impact of new legislation, policies and regulations on office
           resources. Develops and recommends short and long range plans to ensure effective and
           efficient office operations. In FPDOs, works with Clerk of District Court (as disbursing
           office) and complies with all Judiciary accountrng requlrements.

       d   Develops and maintains a system of internal controls to assure proper segregation of
           duties for financial, procurement and property management, as well as personnel
           functions. Periodically audits internal control procedures and recommends
           improvements. Identifies priorities for the allocation of financial, human and physical
           resources within the organization.

           Implements systems, work methods and procedures to ensure maximum efficiency and
           economy in the operation and utilization ofresources. This includes office organization,
           staffing, diskibution of work assignments, delegation ofauthority, and similar functions
           ofmanagement. Recommends and/or implements changes in administrative structure of
           the office, case management, office automation and other functions.

           Serves in administrative matters as the Defender's liaison and representative with the
           various divisions of the AOUSC, the ODS, the Human Resources Division, the GSA,

                                         AI'MINISTRATIVE OFFICER
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           and with representatives of other federal agencies, vendors, and in the private sector.


      5.   Responds to administrative inquiries from staff and other organizations. Coordinates the
           preparation and transmittal of alladministrative, statistical and narrative reports.

      h.   Implements office security measures and develops an on-site employee safety program.

2. Financial Management:

      a.    Manages the financial operations of the defender office under the general policy
            guidelines of the ODS and the AOUSC. Controls funds for various activities and
            functions and ensures expenditures remain within budgetary constraints. Formulates and
           justifies itemized budget projections for all budget categories.

      b.   Reviews and analyzes long-range budgetary and program emphasis, staffing needs and
           resource allocations. Prepares and coordinates financial plans and staffing patterns for
           the organization. Develops case load projections in conjunction with budget plans.

           Manages and oversees day-to-day operations of accounting functions. Performs or
           oversees the accounting for the disbursement of appropriated funds for the defender
           organization. Monitors and controls expenses incurred in the operation and maintenance
           of the office. Assumes responsibility for complying with the intemal controls procedures
           of the office.

      d.   Evaluates and recommends improvements for the financial systems. Implements
           improved systems and procedures for ensuring the accuracy and facilitating the
           disbursement of monies processed through the defender organization. Complies with
           judiciary accounting requirements.

           Develops and implements, with the Defender, a system of internal controls to assure
           proper segregation of accounting functions and to prevent errors and fraud.

           Maintains and analyzes accounting records; provides documentation for expenditures
           and balances ofthe defender organization.

      g. Develops and monitors monthly variance reports, status of funds reports and monthly
           reconciliation reports for review and approval by the Defender.

      h. Prepares or reviews vouchers for payment, ensuring accuracy and appropriateness.

           Develops and monitors spending plans as budget allotments are received. Recommends
           reprogramming actions between budget classifications and categories as necessary.

      J.   Initiates and maintains a comprehensive training program for all employees responsible
           for financial duties. Ensures that all such employees are informed of regulations and
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           procedures relating to financial matters.

3. Personnel Administration and Management:

           Provides the Defender with technical and advisory assistance in the areas ofrecruitment,
           selection and staffing, classification and compensation, benefits, performance
           management, grievance and EEO procedures, performance evaluations and employee
           relations. Implements personnel policies and procedures and rules and regulations for
           the organization.

      b,   Reviews, researches, develops and recommends personnel policies for the Defender.
           Advises senior managers on personnel matters such as recruitment and staffing,
           classification and compensation, benefits, performance management, grievance and
           adverse actionprocedures and the Equal Employment Opportunity (EEO) and employee
           dispute resolution (EDR) plans.

      C.   Researches topics and issues in employment law and regulations, Judicial Conference
           Policy, AOUSC, ODS policies and procedures, and provides findings to the Defender.
           Advises Defender and staff regarding local office, state (CDO), AOUSC and ODS
           policies and procedures.

      d.   Provides technical expertise and advice to the Defender and staff on issues such as
           employee development and promotion, position standards and classification, standards of
           conduct, performance standards and appraisals, disciplinary proceedings, dispute
           resolution and out-placement services.

      e    Develops and administers procedures for recruitment and selection of applicants for
           employment. Assists with determination of basic eligibility and qualifications standards.
           Screens applications, tests and interviews candidates. Refers qualified candidates to the
           senior managers for final selection.

      f.   Administers Equal Employment Opportunity (EEO) programs and complies with
           reporting requirements. Assures that hiring and promotion practices comply with Equal
           Employment Opportunity guidelines.

      (,   Initiates and maintains a comprehensive orientation program for all new employees on
      b.
           various administrative, personnel and procedural matters. Assures documentation and
           justification of decisions made. Administers exit interviews to departing employees.

      h.   Determines training needs, plans and methods. Develops training manuals for non-
           attorney staff. Works with Defender andior Supervisory Assistant to identify training
           needs for attorney staff. Evaluates training plans and requests to ensure training is
           appropriate and properly approved. Identifies sources for training.

      I    Facilitates management development programs for supervisory personnel. Promotes
           development of technical and specialized skills in supervisory employees.

                                        ADMINISTRATIVE OFFICER
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      J.    Advises senior managers on application of relevant classification standards according to
            DOCS. Advises senior managers regarding appointments, promotions, separations,
            terminations, within-grade increases, and quality step increases.

       k. Prepares position descriptions and perforrnance work plans for all non-attorney staff.
            Applies qualification standards and develops rating plans as needed. Assists in
            conducting performance appraisals for non-attorney staff. Determines which personnel
            are not performing satisfactorily and recommends appropriate action.

       t.   Provides advice and assistance to employees and managers on various benefit programs
            including health benefits, life and disability insurance, leave policies, and the Employee
            Assistance Program (EAP). If the office is a CDO, initiates requests for bids on group
            insurance policies and retirement plans, selects appropriate plans and plan
            administrators; develops a corporate benefit package comparable to that offered to
            federal employees; administers selected programs. Coordinates employee benefits with
            regard to retirement; advises retiring employees on retirement benefits and activities.

      m. Processes personnel and payroll actions such as appointments, promotions, separations,
         terminations, within-grade increases, and quality step increases. Maintains personnel
         files and records such as payroll and leave records, personnel training reports, and time
         and attendance records.

            Acts as liaison with the Human Resources Division, Federal Judicial Center, ODS, and
            Board of Directors (CDO) in personnel matters. Acts as the EEO coordinator, health
            benefits coordinator, and training coordinator for the organization.

      o. Evaluates the overall effectiveness of the personnel program and its components.
            Recommends program improvements. Develops and administers time and attendance
            system.

4. Space, Telecommunications and Office Automation Management:

      a. Determines need and secures adequate and suitable office space. Monitors monthly or
            quarterly rent bills.

      b. Coordinates construction projects and arranges office relocations, renovations, and
            repalrs.

      c. Contracts for maintenance and repair of office space, equipment and fumiture.
      d. Arranges for the authorization, procurement and installation of telecommunication
            equipment through the appropriate government agencies and the telephone company.
            Serves as liaison to the circuit's telecommunications coordinator, the AOUSC, GSA, and
            equipment vendors, researching any discrepancies or problems encountered with any
            service requests.

                                              ADMINISTRATIVE OFFICER
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             Arranges for the authorization, procurement and installation of office automation
             equipment in conjunction with the Computer Systems Administrator.

             Acts as CALR (computer aided legal research) coordinator for the district.

5. Purchasing, Procurement, Property Management:

        a.   Ensures adherence to federal and local procurement practices and procedures. Acquires
             current knowledge of fiscal year spending requirements and restrictions provided by 1)
             ODS and the AOUSC1'2)the procurement practices provided inThe Guide to Judiciary
             Policy;3) applicable state and federal statutes; and 4) GSA's rules and regulations. Acts
             as on-going liaison with ODS, the Contracts and Services Division (CSD) and GSA in all
             purchasing matters.

       b.    Develops, with the Defender, a system of internal controls to assure the proper
             segregation of procurement functions.

             Determines need and ensures procurement of supplies, equipment, library materials,
             furnishings and professional contract services from government and non-government
             sources through competitive bids, existing government contracts, or new contracts. Acts
             as advisor to staff in purchasing matters. Originates or reviews requisitions and confels
             with requesting persons regarding necessary goods and services. Originates or receives
             and processes purchase orders and invoices as authorized. Prepares coffespondence and
             conducts meetings and interviews with vendors or their representatives. Determines
             whether prices are fair and correct; judges if quality meets specifications and
             performance standards. Locates sources for regular and emergency supplies purchases.

       d.    Initiates and maintains a comprehensive training program for all employees responsible
             forprocurement duties. Ensures that all such employees are informed ofregulations and
             procedures relating to procurement matters.

6. Maintains purchasing records and reports. Reports significant discrepancies in inventory
   reconciliations to the Defender.Records, Mai[ and Forms Management:

       a. Organizes and manages storage systems and/or facilities for old records and used
             property. Monitors accountable property.

       b. Ensures that the organization has an effective system of data and records security,
             storage, retrieval and archiving for case and administrative files.

       c. Oversees mail and forms management in compliance with applicable regulations and
             procedures.

7. Other Responsibilities:

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                Initiates and maintains a comprehensive training program for all employees responsible
                for administrative and management duties.

        b       As designated by the Defender, directly supervises the work of the Supervisory or
                Administrative Assistant, the Financial Administrator, the Persomel Administrator, the
                Property and Procurement Administrator, the Supervisory or Computer Systems
                Administrator, Panel Administrator, Case Management Assistant, Supervisory Legal
                Secretary, and other positions as designated by the Defender.

        c. Participates in national administrative working groups or projects, as needed.
        d. Performs all other duties as assigned.
C. ORGANIZATIONAL RELATIONSHIPS

The Administrative Officer reports directly to the Defender, who determines overall objectives and
resources available. The Administrative Officer has wide discretionary and independent authority in
the implementation of policies and programs to achieve the objectives.

D. QUALIFICATIONS
To qualifu for the position of Administrative Officer, a person must be a high school graduate or the
equivalent and must have the requisite experience outlined inthe Salary and Experience Scale and
Experience Requiremenls sections. The individual must be able to perform each essential job duty
satisfactorily. The job requirements are representative of knowledge, skills, and/or abilities
necessary to perform the essential functions of the job.

E. SALARY AND EXPERIENCE SCALE
 DOCS Grade Level             Years of General                 Years of Specialized     Total Years of Experience
                                Experience
            I                        )                                    J                        6
            2                        J                                    4                        7
            J                        3                                    5                        8
            4                        J                                    6                        9
        l5                           J                                    7                        10


Note: One year of the required experience must have been at, or equivalent to, the next lower grade
in federal service. Experience that has not provided training or required the application of the
knowledge, skills and abilities outlined inthe Primary Job Duties section above is not creditable
experience. Specialized experience may always substitute for general experience but general
experience may not substitute for specialized expenence.

Note: To quali! atthe DOCS Level 14, the Administrative Officer must supervise either three or
more staffed offices orthree or more administrative specialist positions (three of the following:
Supervisory Administrative Assistant or Administrative Assistant, Financial Administrator,


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Personnel Administrator, Property and Procurement Administrator, Panel Administrator, Operations
Administrator, Supervisory Computer Systems Administrator or Computer Systems Administrator,
Case Management Assistant, Supervisory Legal Assistant). If the minimum number of
subordinates includes subordinate supervisors, the subordinates of these supervisors cannot
be counted.

Note: To qualify atthe DOCS Level /5, the Administrative Officer must supervise either 1) three or
more staffed offices andthree administrative specialist positions or2) forr or more administrative
specialist positions (four of the following: Supervisory Administrative Assistant or Administrative
Assistant, Financial Administrator, Personnel Administrator, Properly and Procurement
Administrator, Panel Administrator, Operations Administrator, Supervisory Computer Systems
Administrator or Computer Systems Administrator, Case Management Assistant, Supervisory Legal
Assistant). If the minimum number of subordinates includes subordinate supervisors, the
subordinates ofthese supervisors cannot be counted.

Note: A staffid office is a Capital Habeas Unit (CHU) or an office that is designated as the
permanent duty station for one or more pernanent FDO employees. Associated with the supervision
of a staffed office are the duties related to general office administration; financial management;
personnel administration and management; space and facilities management; telecommunications
and automation management; purchasing, procurement and properly management; records, mail,
forms and file management; and local area network and PC management and support.

F. EXPERIENCE REQUIREMENTS

General Experience

Experience that provides evidence the individual has:

    a general understanding of the methods and skills required for accomplishing the tasks outlined
    inthe Primary Job Duties section above;
a   a general understanding of office confidentiality issues, such as attorney/client privilege;
a   the ability to read, analyze and interpret common technical joumals and legal documents;
a   the ability to apply common sense understanding to carry out instructions furnished in written,
    oral or diagram form;
a   the abilify to analyze and apply relevant policies and procedures to office operations;
a   the ability to exercise good judgment in a mature and diplomatic manner;
a   the ability to communicate orally and in writing;
a   a general knowledge of office practices and legal processes,
a   the ability to recognize and analyze problems and recommend practical solutions;
a   the ability to use a personal computer.

Specialized Experience

Progressively responsible experience in the functional areas described in the Primary Job Duties
section above. Such experience provides the individual:

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a   the ability to supervise the work of others;
a   a comprehensive knowledge of administrative management principles, practices, methods and
    techniques;
a   the ability to identify and evaluate pertinent facts and regulations, policies and precedents;
a   skill and judgment in the analysis of management issues;
a   a comprehensive knowledge of fiscal processes including budget preparation and management,
    office automation, procurement, personnel management, and operations in a legal environment;
a   experience as an administrative manager performing progressively responsible duties;
a   the skills and ability to execute the duties of the posrtron.

G. EDUCATIONAL SUBSTITUTIONS

Education above the high school level in accredited institutions may be substituted for the general
experience on the basis of one academic year (30 semester or 45 quarter hours) equals nine months
of experience.

Completion of all the requirements for a bachelor's degree from an accredited college or university
and having met one of the following may be substituted for one year of specialized experience:

    1. An overall "B" grade point average equaling 2.9 or better of a possible 4.0.
    2. Standing in the upper third of the class.
    3.   A "B+" (3.5) grade point average or better in major fields of study such as business or public
         administration, accounting, personnel management, information systems, legal management,
         or specialized or significant course work in a field closely related to the subject matter ofthis
         position.

    4.   Election to membership in Phi Beta Kappa, Sigma XI, or one of the National Honor
         Scholastic Societies meeting the minimum requirements ofthe Association of College Honor
         Societies, other than Freshman Honor Societres.

Completion of one academic year (18 semester hours) of graduate study in an accredited university
in such fields as business or public administration, accounting, personnel management, information
systems, legal management or other field closely related to the subject matter of the position, may be
substituted for one year of specialized experience.

Completion of a master's degree or two years of graduate study (36 semester hours) in an accredited
university in such fields as business or public administration, accounting, personnel management,
information systems, legal management or other field closely related to the subject matter of the
position, or completion of a Juris Doctor (JD), may be substituted for two years of specialized
experlence.

H. PHYSICAL DEMANDS AND WORK ENVIRONMENT

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The physical demands described are representative of those required in order for an individual to
successfully perform the essential functions of this job. Reasonable accommodations may be made
to enable individuals with disabilities to perform the essential functions.

While performing the duties of this job, the individual is regularly required to sit and talk or hear.
The individual frequently is required to use hands to touch, handle, or feel. The individual must
occasionally lift and/or move up to 25 pounds. The individual is frequently required to stand, walk
and reach with hands and arms. Frequent travel to branch offices may be required. The individual
will spend most of his/her time in an office environment.




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                   Legal Intern Positions

         5         Paralegal Positions

         6         Investigator Positions

         7         Interpreter and Librarian Positions

         8         Legal Assistant Positions

        9          Administrative Positions

        10         ldormation Technology Positions

        11         Office Support Positions

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   {. DOCS, December 2016 updates
               (DOCS2016.pdf - tull document)

               This version includes a capital mitigation specialist position description

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  ..'. DOCS, December 2012 updates
               (DOCS12212012.pdf - tull document)
               (DOCS I 22 I 20 I 2Portfolio.pdf - includes national positions)



               added to all paralegal, investigator and CSA staff position
               descriptions, as approved by the DOCS Expert Panel.


  .i. DOCS, December 2010 Version, Third Edition.
              (DO C S I 2 I pdf - full document.)
                           0.




               reflects all of the adopted Federal Defender Compensation Study
               changes endorsed by the Defender Services Committee at its meeting
               in December 2009, and issued through a series of policy memoranda
               during 2010.



  .i. DOCS, November 1998 Version, Second Edition, Updated July 2000.
              (DOCS98_2d pdf - tull document.)
              (DOCS}700.p4f - revisions package released July 2000.)


               (as reviewed by Defenders at the January 2000 conference).




  .i. DOCS, November 1998 Version.
              (DOCS1198.pdf - full document.)




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         GENERAI, INFORMATION AND DEFINITION OF KEY TERMS


        Introduction

        A.           Purpose

                 This section, the General Information und Definition ol Key Terms, provides
                 Federal Public and Community Defender Organizations with general information
                 conceming the authorities, responsibilities and processes associated with the
                 appointrnent and compensation of graded persontrel.' Key terms are defined and
                 persomel management policy statements are included.

        B.           Key Definitions

                 DOCS: the Defender Organization Classification System. The DOCS is the
                 personnel classification system for defender organizations.

                 FDOS: Federal Public and Community Defender Organizations are collectively
                 referred to as FDOs, federal delender organizations, or delender organizations.

                 AOUSC: the Administrative Office of the United Stales Courts.

                 DSC: the Judicial Conference Committee on Defender Services.

                 ODS: the Office of Defender Services, AOUSC-

                 OHR: the Office of Human Resources, AOUSC.

                 USAO: the Office of the United States Attomey.

                 JSP: the Judiciary Salary Plan.




         lPosition
                     descriptions for defender organization artomeys (r/rgraded personnel) are included in the DOCS
Manual as a matter ofconvcnicnce. As noted in Scction lII.B.2 hcrein, policies and procedures associatcd with the
appointflent and compensation of attomeys are found in ODS policy memoranda- Examples of thc most rcccnt
mcmomnda are included in Section 2 for reference. Updated memoranda conceming salary charts are sent by ODS
to Def€nders on an annual basis.




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        C.    Additional References

              FDOs should consult the Guide to Judiciary Policy (Guide), Volume 12, Human
              Resources, for additional information on judiciary personnel policies.

              FDOs should also consult the Federal Defender Operations Manual, Chapter I1
              (Personnel), for comprehensive information regarding personnel policies and
              procedures.

II.     Appointment and Compensation of Personnel: Statutory Authority

        A.    General

              The Criminal Justice Act (18 U.S.C. S 3006A) grants Federal Public Defenders
              the authority to appoint attorneys and other personnel.

        B.    Federal Public Defender Organizations @PDOs)

              The Federal Public Defender (FPD) appoints full-time attorneys in such numbers
              as approved by the circuit court of appeals (18 U.S.C. S 3006A (g)(2)(A)), and by
              the Judicial Conference Committee on Defender Services (DSC). The FPD may
              also appoint non-attorney personnel as authorized by the DSC.

              The FPD may fix the compensation of attomeys and other personnel at rates not
              to exceed those paid to individuals of similar qualifications, experience, and
              responsibilities in the Office of the United States Attorney (USAO) for the same
              district. (see the Guide, Volume 7, Defender Services.)

        C.    Community Defender Organizations (CDOs)

              Although not statutorily mandated, the DSC considers the authority of the CDO
              Executive Director comparable to that of the Federal Public Defender with respect
              to the appointment and compensation of personnel. Throughout DOCS, the term
              Defender or Federal Defender refers to the head of a FDO.

              The DSC annually approves federal grants for CDOs. The receipt and use of
              grant funds is subject to the conditions set forth in the Grant and Conditions. (See
              the Guide, Volume 7, Part A, Chapter 4 and its Appendix.) Approval of a CDO
              grant by the DSC is based on the assumption that the CDO follows judiciary
              policies regarding appointment and compensation of personnel. DOCS, therefore,
              applies to CDOs.

              Clause 15 of the Grant and Conditions requires a CDO to:

              r      proVide its employees with written personnel policies and other terms and
                     conditions of employment;
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                       furnish the ODS a copy of said policies and any subsequent changes
                       thereto;
                       notify the ODS of the intent to filI a personnel vacancy.

II I.     Development and Contents of DOCS

          A.    Purpose and Development of DOCS

                DOCS was developed to provide FDOs with a variety of positions that are
                comparable, in scope of responsibility and pay levels, to those used by the
                USAOs while meeting the unique needs of a defender organization. The needs of
                a 10O-person office are quite different from those of a four- to six- person office.
                DOCS was designed to allow a Defender to structure his or her organization and
                select positions for the most effective office operations.

                Prior to the implementation of DOCS, the positions available to FDOs were very
                limited. The duties and responsibilities included in the original position
                descriptions (written in the late 1960s or early 1970s) no longer accurately
                reflected the tasks performed by defender personnel. Additionally, the grade
                levels were not comparable to those of the USAO or other judiciary positions.
                Further, the rapid growth of the federal defender program combined with the
                divestiture of authority from the AOUSC to Defenders, redefined the role of many
                positions in defender operations. Changes in the nature of the practice of criminal
                law, increased Congressional oversight, and additional accountability and
                reporting requirements highlighted the limitations of the original position
                descriptions and emphasized the need for updated and expanded position
                descriptions.

                Beginning in 1990, Defender organization personnel developed DOCS to meet
                the changing needs of all defender organizations. In May 1993, the FDOs
                adopted DOCS as the personnel classification system. In 1995, a DOCS Expert
                Panel, consisting of FDO Defenders and staff, was formed to review and
                recommend revisions to the DOCS positions descriptions. The groups' efforts are
                ongolng.

                An 18-month Study on Compensation in Federal Defender Organizations was
                undertaken in 2008. The Study analyzed and compared the compensation levels
                and benefits of both graded and ungraded positions in Federal Defender
                Organizations (FDOs) to compensation levels and benefits in U.S. attorneys'
                offices (USAOs) to ensure parity at all levels. The study concluded in December
                2009 when the contractor, Human Resources Research Organization, assisted


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        ODS in presenting the study recommendations to the Defender Seruices
        Committee.

        Overall, the Study found that:
        .      FDO compensation is in compliance with 18 U.S.C. $ 3006A(g)(2XA).
        .      There are no major deficiencies with FDO compensation policies or
               patterns of over-compensation in FDOs relative to United States attorneys'
               offices.
        .      There is a considerable degree ofparity for attorney and graded
               compensafion systems.
        .      There are several policies that allow United States attorneys' offices to
               compensate their employees at higher levels than FDOs can provide.

        The DOCS Expert Panel, which served as the primary source of specialized
        knowledge for the contractor and ODS during the study, considered the study
        findings and defender comments in August 2009. The DOCS Expert Panel
        submitted its recommendations to the Performance Measurement Working Group
        (PMWG) and the Defender Services Advisory Group (DSAG). At their meetings
        in September and October 2009, respectively, the PMWG and the DSAG
        endorsed the recommendations, which were then submitted for consideration by
        the Defender Services Committee's Long-Range Planning and Education
        Subcommittee. The Subcommittee endorsed the recommendations at its meeting
        in October 2009.

        The fuIl Defender Services Committee (the Committee) considered and endorsed
        the study recommendations at its meeting in December 2009.

        The DOCS Expert Panel and ODS undertook the substantive work needed to
        implement the recommendations and reissue an updated DOCS in December
        20t0.




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            B.       Categorizztion of DOCS Positions

                     l.    Graded Positions

                           i.       General

                                    To facilitate ODS's tracking of DSC-authorized positions, ODS
                                    has grouped the graded DOCS positions into six major categories
                                    according to type of positions (see below). FDOs are generally
                                    authorized several positions in each of the six DOCS categories.

                                    The six ODS position categories are: Research and
                                    Writing/Paralegal; Investigator/Interpreter; Administrative;
                                    Information Technology; Legal Secretarial; and Office Support.
                                    The individual DOCS positions in each category are listed below:



DOCS Position Categories


Research & Writins/Paralesal                                  Legal Assistant
Research & Writing Specialist                                 Secretary to the Federal Public or Community Defender
Legal Intern                                                  Secretary to the First Assistant Defender
Chief Paralegal                                               Senior Legal Assistant
Paralegal                                                     Supervisory Legal Assistant
Assistant Paralegal                                           Legal Assistant

Investigator/[nterpreter                                      Office Support
Chief Investigator                                            Administrative Secretary
Investigator                                                  Case Management Assistant
Assistant Investigator                                        Panel Assistant
Chief lnterpreter                                             Clerical Assistant
Interpreter                                                   Receptionist
Librarian

Administrative
Administrative Offrcer
Supervi sory Administrative Assi stant
Administrative Assistant
Financial Administrator
Pcrsonnel Administrator
Propety & Procurement Adminisffator
Panel Administrator

Information Technolosv
Supervisory Computer Systems Administrator
Computcr Systcms Administrator
Assistant Computer Systems Administrator




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             b.       One-of-a-Kind Positions

                      The functions of several DOCS positions are considered unique,
                      and only one such position is available to each organization. The
                      positions that are limited to one per organization are identified in
                      the DOCS description definitions as one-of-a-kind.

                      National Support Positions

                      In order to economize, certain DOCS positions provide centralized
                      support to all FDOs on a national program level. These positions
                      are assigned to individual defender offices, yet support all FDOs.
                      Position descriptions for these national support positions are
                      contained in the DOCS in a reserved chapter available only
                      through ODS. FDOs hosting national positions should consult
                      with ODS regarding the DOCS title, grade level and position
                      description prior to advertising or filling a national position.

             d.       Legal Interns

                      FDOs regularly hire law students or recent law school graduates to
                      assist with legal research, writing, and case preparation. The DSC
                      does not specifically authorize these positions. Legal Interns are
                      only hired as temporary employees. The Legal Intern position is
                      often incorrectly referred to as aLaw Clerk. The title Law Clerk is
                      reserved for high-level positions on a judge's staff. Legal Intern
                      is the correct title for the defender organization position. The
                      Legal Intern position description is included in DOCS. An
                      individual who has passed the bar cannot be placed in a Legal
                      lntern position.
        .,
             Ungraded (Attorney) Positions

             The Federal Defender and all assistant federal defenders are considered
             ungraded positions. Salaries for these attorney positions are not based on
             the Judiciary Salary Plan (JSP) grade and step tables used to calculate
             salaries of graded personnel.

             Position descriptions for the various AFD positions are included in the
             DOCS Manual as a matter of convenience. The AFD position descriptions
             contain a general explanation of the duties and activities associated with
             AFDs, based on those of the USAO. These position descriptions should
             be used as guidelines. Policies and procedures related to the
             appointment ond compensation of AFDs, and applicable salary charts,
             are sent to FDOs by the ODS in the form of policy memoranda and

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             updates to Tab 2 of this manual. The individual memoranda and Tab 2
             should be replaced as they are updated by ODS.

             The number of authorized ungraded positions is also tracked by ODS.

        3.   Supervisory Positions

                    Supervisory Responsibilities

                    Listed below are the types of responsibilities generally performed
                    by supervisors who are either attomeys or graded employees.
                    With few exceptions, supervisors meet the technical qualifications
                    of the positions they supervise. They may have line
                    responsibilities in addition to providing, on a daily basis, the
                    technical and administrative supervision of employees who are
                    performing a particular job function or functions. Technical
                    supervision generally relates to the abilities associated with the
                    functional responsibilities, e.g., technical proficiency in using
                    interviewing techniques to obtain factual information from
                    witnesses as an Investigator or applying the principles of financial
                    accounting as a Financial Administrator. Administrative
                    supervision generally relates to the ability to select, direct, develop,
                    reward, and retain qualified people to perform their work.

                    Employees holding supervisory positions generally perform the
                    following list of supervisory tasks:

                    1)       Plan work to be accomplished by subordinates, including
                             setting and adjusting priorities and deadlines, and
                             distributing and balancing the workload among employees.
                    2)       Assign work to subordinates.
                    3)       Evaluate work perfornance of subordinates by keeping in
                             touch with the status and progress of work and maintaining
                             records of accomplishments.
                    4)       Give advice or assist with work in progress. Approve,
                             revise, or reject completed work.
                    s)       Interview and recommend candidates for vacant positions,
                             identify training needs and conduct on-the-job training,
                             establish performance standards consistent with job
                             description, and recommend salary increases, promotions
                             and awards for subordinate employees.
                    6)       Hear and resolve subordinates' concerns or complaints,
                             assist with problems when possible, and recommend and,
                             as authorized, implement disciplinary actions when
                             required.


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                             7)       Develop or accept recommendations from subordinates to
                                      increase productivity or quality.
                             8)       Keep subordinates informed of the policies and procedures
                                      of the organization and make sure they are followed.
                             e)       Approve leave in accordance with personnel policies.
                             10)      Inform employees of available services and employee
                                      actrvrtres.
                             11)      Report to the next level supervisor on performance,
                                      progress, and training needs, and on behavior or
                                      performance problems. Provide information to the next
                                      level supervisor as requested conceming promotions,
                                      reassignments, recognition, and personnel needs.
                             t2)      Facilitate and participate in annual performance reviews of
                                      subordinate employees.

                            Some supervisors may also be assigned budgetary or personnel
                            responsibilities for the staff that they supervise.

IV.     DSC-Authorized Positions for FDOs

        A.    Process for Obtaining Positions: Resource Requirements, Budget Requests,
              Supplemental Requests

              Annually, FDOs are required to submit resource requirements to ODS for the
              fiscal year commencing several months in the future. For example, in February
              2010, FDOs submitted resource requirements for FY 201 I .

              The information submitted includes a projected caseload for the upcoming fiscal
              year. The current year FTE levels and the projected caseload in the budget year
              are used to calculate an attorney and non-attorney FTE ceiling for each
              organization. If an organization requests any positions above the calculated FTE
              ceiling, justification must be provided for consideration by the Defender Services
              Budget Subcommittee (DSBS). The DSBS forwards a recommendation to the
              Defender Services Committee for each individual organization's budget and FTE
              ceiling for the upcoming fiscal year.

              Once FDOs receive their yearly budgets, they are required to submit a monthly
              Electronic Status of Funds Report (ESFR) which shows projected surpluses or
              shortfalls. FDOs may submit requests for supplemental positions or funding for a
              specific case, or for a sudden increase in caseload, etc. Approval for
              supplemental requests is based on the justification submitted, the availability of
              funds and the guidelines established by the Defender Services Committee.




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  B.    Obtaining DSC Approval

        Resource requests are reviewed by ODS. Questions or concems regarding the
        budget request are discussed with the Federal Defender/Executive Director or
        Administrative Officer. Once a year, the Defender Seryices Committee's Budget
        Subcommittee meets to review FDO budgets for the upcoming fiscal year, and
        forwards a recommendation to the Defender Services Committee for its
        consideration. The recommended budgets must fall within the Defender Services'
        Financial Plan as approved by the Executive Committee of the Judicial
        Conference. The approved financial plan is based upon funding appropriated by
        Congress to Defender Services.

        FPDO requests for new attorney positions must be approved by each Circuit.
        (CDO new attorney requests do not require Circuit approval.) After Circuit
        approval is obtained, all new attorney positions must also be approved by the
        ODS prior to an offer of employment being made (for both FPDOs and
        CDOs).

  C.    Changes to DSC-Authorized Positions

        l.    General: FDOs may find it necessary to change an authorized position to
              a different position. The types of changes are indicated below. The ODS
              tracks the number of positions authorized by the DSC according to district
              and position category (described in Section III.B.1.a. above).

        ",    Effecting Change: The ODS must approve changes to DSC-authorized
              positions. All requests to ODS for approval of personnel actions must
              include a statement that the FDO has sufficient funding to support the
              requested action. If additional funding is required, the request must be
              submitted to the DSC for approval, as described in Section IV.B. above.

              FPDOs must submit to the Office of Human Resources (OHR) an AO-
               193, Request for Personnel Action form, or its electronic equivalent using
              remote data entry (RDE), to effect either a reclassification or a mixed-
              function position. CDOs are not required to submit additional paperwork.

       3.     Reclassification

              A reclassification changes the title of an existing filled position to one that
              more closely describes the duties that are actually performed by the
              employee.

              For example, a Defender has determined that a Legal Assistant is actually
              performing the duties associated with a Case Management Assistant, and



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             s/he should reclassify the position accordingly. The category would
             change from Legal Assistant to Office Support.

             ODS's prior written approval is required to reclassify an authorized
             position. The "Nature of Action" or NOA Code which FPDOs must
             submit to the OHR to effect this reclassification is 984. ODS's written
             approval should be attached to the reclassification request when
             submitted to OHR. (CDOs are not required to submit additional
             paperwork, but must obtain ODS written approval to reclassify a
             position.)

       4.    Mixed-Function Position

             A mixed-function position combines the primary functions of trvo (or
             more) different DOCS positions, and may change the total number of
             authorized positions in two (or more) categories.

             For example, an organization has been authorized four legal assistant
             positions and six paralegal positions, and the Defender determines that one
             paralegal is actually performing as 50% legal assistant and 50Yo paralegal.
             After requesting and receiving the ODS's written approval, the Defender
             could create such a mixed-function position, which would result in a
             change in authorized positions to 4.5 legal assistant and 5.5 paralegal.

             Please refer to Sections V.C. and VI.B.2. below for additional information
             concerning mixed-function positions.

       5.    Exception to Approval Requirement

             There are certain "series" of DOCS positions which are so similar in
             nature that prior ODS approval is not required to reclassify positions
             within those series. These series are in three categories: Paralegal,
             Investigator and Legal Assistant positions.

             An organization that is authorized one or more of these positions may
             appoint a new employee to any of the DOCS positions within the series
             for which slhe qualifies. The organization may also reclassify an existing
             employee to a different position in the same series without ODS approval.

             For example, a Defender may determine that an Assistant lnvestigator
             meets the qualifications for, and is actually performing as, an lnvestigator.
             The Defender may reclassify the Assistant Investigator to Investigator.
             Or, the Defender may wish to reclassify a Legal Assistant to the position
             of Secretary to the First Assistant Defender, and s/he may do so without
             prior ODS approval.

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                    Please note, however, that to reclassify a Legal Assistant as
                    Administrative Secretary, or vice versa, ODS approval is required,
                    because these two classifications fall into different categories of positions.
                    Please refer to Section III.B.1.a., and the listing of DOCS position
                    categories, above.

v.     Appointing Personnel

       A.    Determining Qualifi cations

             The Defender, or his/her designee, is responsible for determining the
             qualifications of prospective employees and ensuring that personnel employed by
             the organization meet the DOCS qualifications for the positions to which they are
             appointed. The Defender is the appointing authority, and that authority may
             not be delegated.

             A careful review must be made of the applicant's education, training and work
             experience, and a determination made of the highest-grade level for which the
             individual qualifies. Although the Defender may appoint at a lower grade than
             the highest grade for which an applicant qualifies (for reasons such as funding
             constraints, a desire to evaluate the individual's performance for a certain period
             of time, etc.), this is not recommended. The decision to appoint at a lower grade
             and promote at a later date will not entitle the employee to retroactive
             compensation at the higher rate. Taking future actions to properly compensate an
             employee who was initially appointed at a lower level than that for which s/he
             qualified is very difficult.

             Generally, individuals are appointed at the first step in a grade level. However, in
             order to compete successfully for the services of a quality applicant, a Defender
             may consider it necessary to either match the current salary or other offer received
             by that applicant. Please refer to the Guide, Volume 12, Chapter 6.

             If the Defender erroneously sets the entrance grade lower than that for which the
             employee qualifies, the Defender may, at any time, request prospective promotion
             to the highest eligible grade. Likewise, if a Defender determines that an existing
             employee's grade was improperly established, the Defender may, at any time,
             request prospective promotion to the highest eligible grade. That promotion
             becomes effective in the first pay period subsequent to the date of the promotion
             request, and cannot be made retroactive.

             General descriptions of the different types of qualifying experience are provided
             below.




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        l.   Qualification Standards

             Qualification standards are considered the minimum level of knowledge,
             skill and/or ability. Certification or education requirements for
             professionals (e.g. attorneys, interpreters) must be job related.

        )    General Work Experience

             General work experience refers to the minimum entry-level qualifications
             that demonstrate the applicant's ability to acquire knowledge and skills
             necessary to function within a position. General work experience cannot
             be credited as specialized experience.

        3.   Specialized Work Experience

             These elements are related directly to the duties of the position. This is
             experience required for above entry-level work. General work experience
             requirements and any minimum educational, licensure, or other special
             qualification requirements and selective factors established for the position
             must be met first. Specialized work experience must demonstrate the
             knowledge, skill, and ability (KSAs) necessary for successful job
             performance. When an applicant meets the experience requirement for a
             specific DOCS grade level, s/he also meets the experience requirements
             for lower grade levels in that position, as well as other similar DOCS
             positions at lower grade levels.

        4.   Selective Placement Factors

             Selective placement factors are the elements considered above minimum
             requirements, and are based on special circumstances of knowledge
             required. These elements do not alter minimum qualification standards.
             Licensure or certification and language fluency are examples of selective
             placement factors. Language fluency may be considered a minimum
             qualification for a position, depending upon cultural circumstances.
             Selective placement factors cannot be substituted for general or
             specialized experience requirements.

        5.   Creditability

             Creditable work experience provides the individual with the knowledge,
             skills and abilities (KSAs) to perform the duties of the position. One year
             of creditable expenence is gained through completion of either twelve
             months or 52 weeks of creditable work experience, whichever comes first.




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        6.     Educational Substitutions

               Education above the high school level may be substituted for a prescribed
               amount of general, or where noted, specialized experience as detailed in
               each position description. Unless otherwise provided, education may be
               substituted for experience only in full year increments of academic study
               for the prescribed number of years of general experience.

               If an academic degree is used as a qualification for appointment at a
               parlicular grade level, all reqtirements for that degree must have been
               completed and the degree granted. The Defender is responsible for
               ensuring that the degree was actually granted,

        7.     Determination of Equivalence

               Experience attained outside the federal system, or in ungraded federal
               positions, must be evaluated and equivocated to the appropriate federal
               grade level. This applies exclusively to service outside the federal system,
               or to service in ungraded federal positions. If a federal employee has
               attained the next lower grade in the federal service, determination of
               equivalency is not necessary.

               Non-federal work experience is subject to varying interpretations of
               relative complexity. Such experience must be examined for general
               relevance to the position in question, level of responsibility and
               complexity, and salary level. All valuable experience and training,
               including experience and training gained in religious, civic, welfare,
               service, and organization activities should be considered in determining
               qualifications, regardless of whether or not compensation was received.
               Unpaid experience should be given as much credit as paid experience if it
               is valuable and pertinent to the position in question.

               Part-time experience is prorated according to the relation it bears to a full
               workweek.

               Education may also affect the determination of equivalency. The manner
               in which education may be substituted for required years of employment
               experience, either general or specialized, is detailed in each position
               description.

  B.    Job Sharing

        Job sharing is available in DOCS, and the Federal Defender may appoint two (or
        more) persons to fill one full-time authorized position. The total hours worked by



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        the individuals may not exceed the hours associated with one full-time position,
        or 40 hours per workweek.

        FPDOs should note 'Job sharing" on the AO-193 form, or its electronic
        equivalent, that is submitted to OHR for processing. OHR will assign the same
        position number to all individuals who share that position, so that the 40-hour
        weekly work schedlule per position is not exceeded.

        CDOs should carefully track the hours of individuals in a job sharing situation to
        ensure that the authorized working hours per position/per workweek are not
        exceeded.

  C.    Mixed-Function Positions

        Mixed-function positions combine the performance of two or more DOCS
        positions into one position. DOCS provides flexible staffing options by allowing
        a Defender to create mixed-function positions. Defenders may find it useful to
        combine some positions.

        Only graded positions may be combined to form a mixed-function position.
        Defenders may not create positions that are part graded and part ungraded (e.g.,
        Research & Writing Specialist/Assistant Federal Defender). This is not permitted
        because the positions are subject to different compensation systems and different
        placement and advancement policies. A mixture of graded and ungraded positions
        cannot be accommodated in one mixed-function position.

       Generally speaking, one-of-a-kind positions carurot be combined with another
       position to create a mixed function position.

       To ensure that the records are correct concerning the number and type of DSC-
       authorized positions, as described in Section IV. above, a written request to create
       a mixed-function position must be submitted to, and approved by the ODS prior
       to processing the personnel action to classify/reclassify the mixed-function
       position to assure that work is organized in an efficient and cost-effective manner,
       and that the skills and abilities of employees are used to the fullest extent
       possible. Assignment of work that results in a higher grade based on duties
       performed less than a majority of time generally is not efficient or cost-effective.

  D.   Position Reassignments

       A Defender may reassign an employee from one authorized position to another
       authorized position, based on an assessment of the individual's qualifications and
       the needs of the office. ODS approval is not required for this action.




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            For FPDOs, a Form AO-193, or its electronic equivalent, must be submitted to
            OHR to effect this change. CDOs should notify the ODS of any position
            reassignments, in accordance with Clause 15 of the Grant and Conditions
            agreement, which requires notification be given to the ODS prior to frlling all
            personnel vacancies.

VI.   Grade Levels

      A.    General

            The grade levels of the DOCS positions are comparable to those in offices of
            United States Attomeys (USAos). DOCS positions are graded according to the
            Federal Defender (FD) plan, which is identical to JSP and federal General
            Schedule (GS) positions.

      B.    Entry Level

            1.       Standard DOCS Positions

                     The first grade level on the Salary and Experience Scale (also referred to
                     as the grade ladder) of each position is generally considered the minimum
                     entry level for the position.

                     A professional internshp is available in certain positions. A one- or two-
                     year internship may be utilized. A Defender may hire into those positions,
                     as an intem, an individual who does not possess the requisite years of
                     specialized experience, at one or two grades lower than the minimum
                     entry level for the position. The availability of internship is described in
                     each position to which it applies.

            )        Mixed-Function Positions

                     The proper grade of a mixed function position is determined by evaluation
                     of the regularly assigned work which is paramount in the position. In
                     most instances, the highest level work assigned to and performed by the
                     employee for the majority of time is grade-determining. when the highest
                     level of work is a smaller portion of the job, it may be grade-controlling
                     only if:

                        o The work is officially assigned to the position on a regular and
                            continuing basis;
                            It is a significant and substantial part of the overall position (i.e.,
                            occupying at least 25 percent of the employee's time); and
                            The higher level knowledge and skills needed to perform the work
                            would be required in recruiting for the position if it became vacant.

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              Work which is temporary or short-term, carried out only in the absence of
              another employee, performed under closer than normal supervision, or
              assigned solely for the purpose of training an employee for higher level
              work, cannot be considered paramount for grade level purposes.

              The entry level of a mixed-function position is determined by the
              percentage of time spent performing each DOCS position function. The
              entry grade for the mixed function position is the entry grade for the
              highest graded DOCS job that is performed at least 25 percent of the time.

  EXAMPLE:             Legal Assistant               Grades   6-8 60%
                       Asst. Palalegal               Grades   5-9 40%
                       The entry-level grade of the above mixed function Legal Assistant /Asst.
                       Paralegal position would be 5.


  C.    Target Grade

        1.    Standard DOCS Positions

              The highest grade on the Salary and Experience Scale of each DOCS
              position is the target grade for that position. The established target
              grade may not be exceeded under any circumstancesl exceptions to
              this requirement are not available.

              Please Note: Person-in-the-job increases, available prior to the
              implementation of DOCS, were used to upwardly adjust the grades of
              experienced individuals who had reached the target grades of their
              positions. These increases are no longer available to FDOs. DOCS
              provides an adequate variety of positions, at grade levels comparable to
              the USAO and JSP, to properly compensate all FDO graded personnel.

        2.    Mixed-Function Positions

              The target grade of a mixed-function position is determined in the same
              manner as described for determining the entry grade of a mixed-function
              position.

  EXAMPLE:             Legal Assistant               Grades 6-8 60%
                       Asst. Paralegal               Grades 5-9 40%

                       The target grade of the above mixed-function Legal Assistant /Asst. Paralegal
                       position would be 9

                       Note: Although the Legal Assistant job progresses at the one-grade interval
                       whereas the Assistant Paralegal job progresses at the two-grade interval, the


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                              Assistant Paralegal job is grade-determining. Therefore, the mixed function job
                              is graded 5-7-9 following the Assistant Paralegal job's two-grade interval
                              progression scheme. The qualifications requirements for each of the grades for
                              the Assistant Paralegal and Legal Assistant positions should be reviewed to
                              ensure the incumbent meets all general and specialized qualifications.



         D.    Saved Pay Plan

               The Judicial Conference reinstated saved pay provisions for federal public
               defender and judiciary employees in September 2007. This plan provides that,
               under specific circumstances, a graded employee who is placed by management
               action into a different salary plan or pay table, or rehired/reclassified into a lower
               graded position, may continue to receive the same rate of basic pay as s/he would
               have received if s/tre had remained in the former position. Under saved pay, an
               employee receives the same rate of pay that was received immediately before the
               reduction to the lower grade, but does not receive any step increases and receives
               a reduced employment cost index (ECI) rate until the employee's pay is overtaken
               by the regularly prescribed pay for the current position. For information
               concerning applicability of this policy in specific situations, FPDOs should
               contact OHR or consult the Guide, Volume 12, Chapter 6, $680; CDOs should
               contact the program duty officer in ODS.

         E.    Possible Overtime Pay Requirement for CDOs

              CDOs may be required to pay overtime to certain nonexempt employees, in
              accordance with the Fair Labor Standards Act (FLSA), as well as state
              employnnent regulations. There are variations in Federal rules regarding overtime,
              and there are no uniform standards for states to use in defining nonexempt
              employees. ODS strongly recommends that the Defender andlor the
              Administrative Officer/Assistant in each CDO meet with a local Department of
              Labor representative to determine the liability of the organization with respect to
              overtime pay. The overtime pay requirement may affect a CDO's decisions with
              respect to setting grade levels and the advancement of graded personnel discussed
              in the following section. FPDOs are not legally permitted to pay overtime.

vII.     Movement Within and Between Grade Levels

         A.    General

               As noted in Section VI. A. above, employees in graded DOCS positions are
               compensated according to JSP grade levels that are identical to the GS levels of
               the USAO. Advancement within a grade, and between grade levels of DOCS
              positions, is administered in the same manner as for JSP positions. See the Guide,
              Volume 12, Human Resources. FPDOs must follow the Guide with respect to all
              salary-related personnel policies. Those same requirements are extended to


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        CDOs whenever possible, to ensure consistency in compensation for FDO
        employees who perform similar functions in the two types of organizations.

  B.    Within-Grade Increases (WGIs)

        1.     Definition

               A within-grade increase (WGI) is the advancement of an employee to the
               next higher step in the same grade. A WGI is also referred to as a step
               lncrease.

        2.     Eligibility

                        Waiting Period

                        The Within-Grade Increase Plan (see the Guide, Volume 12,
                        Chapter 6, 5665.40) provides that each full-time or part-time
                        employee in steps 1 through 9 will be eligible for a WGI after the
                        appropriate waiting period at the next lower step has been
                        completed. FPDO personnel are required to meet the specified
                        waiting period, and it is ODS policy that all CDO personnel are
                        subject to the same requirements.

                        The waiting period begins on the date the employee was hired or
                        the date the employee was promoted to the current grade,
                        whichever is most recent. This month and day become the
                        employee's anniversary date. The WGI date is the date on which
                        an employee becomes eligible for a WGI, based on the following
                        waiting periods: WGIs to steps 2, 3, or 4 require a 52-calendar
                        week waiting period (approximately one year of service at the next
                        lower step of the grade); WGIs to steps 5, 6, or 7 require a 104-
                        calendar week waiting period (approximately two years); and
                        WGIs to steps 8, 9, or 10, require a 156-calendar week waiting
                        period (approximately three years) at the next lower step.

               b.       Performance

                        The AOUSC's personnel/payroll system is keyed to automatically
                        grant WGIs to eligible FPDO employees on their WGI dates,
                        unless they are specifically denied by the Defender for
                        unacceptable performance, as discussed below, or a promotion is
                        granted in lieu of a WGI. A WGI should be granted only if the
                        employee has performed at an acceptable level of competence
                        during the waiting period. The FPDO should generate a rating
                        form for each graded employee from the AOUSC's
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                     personnel/payroll system for the Defender's action at least 90 days
                     prior to the employee's WGI date. If the employee's performance
                     is acceptable, the rating form should be completed and maintained
                     in the local ffice personnelfile.

                     CDOs should consider each employee's performance and
                     determine that it is at the acceptable level prior to awarding WGI
                     increases.

        3.    Denial of WGIs

              If an employee is not performing at an acceptable level, the Defender may
              deny a WGI to the employee. To deny a WGI in a FPDO, the FPD
              must appropriately complete the rating form and return it to the
              AOUSC at least two weeks prior to the WGI date, to ensure that the
              employee does not receive the WGI automatically.

              The Defender should give the employee written notice of any
              unacceptable rating, fully documenting the reasons for the denial of a
              WGl. If an employee whose performance level was determined
              unacceptable subsequently improves, the acceptable level may be certified
              as such by the Defender in any subsequent pay period and a WGI may
              then be awarded. Written notice to reinstate WGIs must be provided to the
              OHR. In such instances, the employee's WGI date will change to the date
              the WGI is awarded and the waiting period for eligibility for the next WGI
              will be calculated from that new date. WGIs may not be made retroactive.

              CDOs also may deny a WGI to an employee whose performance is not
              acceptable. The employee should be given written notice of this action,
              which also should be fully documented in the employee's file. If
              performance improves and WGIs are reinstated by the CDO, it is
              recommended that the WGI date and eligibility waiting period be adjusted
              in the same manner as for FPDO employees.

  C.    Promotions

        1.    Definition

              A promotion is the advancement of an employee from one grade to the
              next higher grade.




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        )    Eligibility

             A promotion is available to an employee when: (a) the higher grade level
             has been previously authorized for the position, as per the DOCS position
             description; and (b) the employee has met the qualifications for promotion
             to that grade level. At the discretion of the Defender, a promotion may be
             awarded once an individual meets the requirements of the position for the
             next grade level, and completes the time-in-grade requirements. A
             promotion is not an entitlement; it should not be granted automatically
             simply because it is available. A promotion should be awarded only when
             the Defender determines that the employee's performance merits such
             recognrtron.

        3.   Anniversary Date Status

             When a promotion is processed in conjunction with an employee's
             anniversary date, the anniversary date remains the same. However, if a
             promotion is authorized by an FPDO at any time other than on the
             anniversary date, the anniversary date will change to the date of the
             promotion, and the new WGI date waiting period begins as of that new
             date. CDOs should record anniversary dates and WGI waiting periods in
             the same manner.

        4.   Determining Proper Grade and Step for Promotions

             When promoting an eligible employee to the next higher grade, the proper
             method for determining the employee's new step at that grade is as
             follows: Start with the employee's current grade and step, go two steps
             higher within the same grade and identify the salary amount for that step;
             then, at the next higher grade, find the lowest step at which the salary
             meets or exceeds that amount.




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                              Table 01: REST OF THE UNITED STATES
               2O1O Pay Rates of the Judiciary Salary Plan with '14.'l 6% Locality Pay Differential




   $N,324        s21                              1                   s23,424     824,82                               s%ln
   $22,85'.1     s23,395       s24,151     924,792     s25,071        s25,808     s26,546     s27,253      s28,O21     s28,758
   s24,933       s25,764       s26,595     s27,426     s28,257        s29,088     s29,919     $30,750      s31,581     s32,412
   $27,990       $28,972       $29,855     s30,788     $31,7n         $32,6s3     $33,586     $31,519      s35,451     s36,384
   $31,315       $32,359       s33,4r2     $34,445     si:]s,489      s36,532     tx,7,576    fit8,619     s39,663     s40,706
   s:r4,907      s:m,070       3s7,2ss     s38,3S7     sa'g,560       94J,773     s41,886     s43,G50      i44,213     s45,376
   ti:!8,790     S,{),0E4      s41.377     $42,671     s43,964        $/{i,258    s46,561     s47,844      s41,138     s50,431
   $42S60        $44,391       s45,823     947,X4      $4{t,686       $50,117     $51,549     $52,981      s54,412     ss5,8,r4
   u7,M          $49,O29       $s0,611     352,192     s53,773        s56,354     s56,93s     s58,516      s60,097     s61,678
   i52,%2        $s3,994       s55,736     $57,478     s59,221        s60,963     s62,705     fi4,47       s66,'18!)   s67,931
   s57,408       sss,321       s61,234     $63,148     $65,061        s66,974     s68,8EE     s70,801      372,714   s74,628
   968,809       $71J02        $73,396     s75,689     $77,983        $80,276     ${12,570    s84,863      sE7,157   s89,450
   $81,823       $84,550       fi7,278     s90,005     $92,732        $95,459     s98,187    s100,914     slB,641 $106,369
   $96,690       s99,913      s103,136    s1(b,3s8    s109,581       s112,804    s116,@7     $119,249     yn,472 $1 25,695
  $113,735      s'117,527     s121,3'18   $125,109    s'128,9@       sl32,692    s136,{83    s'140.,274   s144,065  $147,857
  $133,389      $137,836          $1$,729 5151,175 s156,622
                              $142,282                            s1@,66 s16.4,515                       's165,300' $165,300
  $153,194      9158,3@
                      S163,.106   $165,300' $165,300 . s165,300 . s165,300 . s165,300 . s165,3m. $165,3m'
                                .         .
  $165,300' s165,300' sr65,300 s165,300 s165,300     . s165,300 .                     .
                                                                  s165,300' $165,300 s165,300  . $165,3@ .

  'Thcrdeof paypayableatlhesestcp.i3 lirit dtottErat lbrLdel lll oltlfE)€cuiveSctle(fub,wl'*rhasS165,300
           EXAMPLE: To promote aLegal Assistant currently at the grade/step of 7/3:
                            o advance two steps to 7/5, note that the salary is 543,964
                            . find the lowest step at grade 8 that would meet or exceed that salary, which
                                is 8/2, with a salary of $44,391 .
                            o the correct promotion fiom grade/step 713 isto 812.
                            There are several situations in which this rule is modified:

                            If an individual is currently at step 9 or 10, it is not possible to perform the
                            calculation as noted above. ln those instances, determine the WGI value
                            (which is the dollar difference between the steps in that grade), add that
                            amount to the current salary twice; then proceed to the next grade to
                            determine the proper step.

               EXAMPI,E:            To promote a Legal Assistant at the I 19 level to grade 8:
                                     e  The WGI valuc at719 (the differencc between thc salaries paid at ll9 and
                                        7/10) is S1,293. Double that amount to $2,586.
                                    . Add $2,586 to the current salary of$49,138, for a total of$51,724.
                                    . find the lowest step at grade 8 that meets or exceeds that salary, (in this
                                        example it is step 8, with the salary of $52,98 l). The employee would be
                                        promoted fiom grade/step 719 to 818.


                        If a promotion is awarded on an individual's anniversary date, and if the
                        employee is eligible for a wGI on that anniversary date (see section vII.
                        B- 2. a. above), the wGI should be added when calculating the grade/step
                        for the promotion. In other words, identify the salary amount at three
                        steps, rather than two, above the current step in determining the proper



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               step at the next higher grade. Adding this additional step may, or may not,
               affect the new grade/step.

               The following examples illustrate how promotions, awarded first on a
               non-anniversary and secondly on the anniversary date, would be
               determined for two individuals. In one situation, the result would change;
               in the other, it would not:

        EXAMPLE:

               Investigator John Smith has been at grade/step 1116 for one year and eight
               months. Grade 12 is available in that position, and he meets the requirements for
               promotion to that grade. The Defender is promoting Smith to Grade 12 as of
               February 20. This is not his anniversary date, and because he has not completed
               the WGI waiting period at step 6 (which is approximately two years), he is not
               eligible for a WGI to step 7. Therefore, to calculate: advance two steps, from
               ll/6 to lll8 ($70,801), then to the lowest step at grade 12 that meets or exceeds
               that salary, which is l2l2 ($71,102). But, if the Defender delays the promotion
               until June 20 (Smith's anniversary date and the date he completes the 104-week
               waiting period at step 6), he is eligible for a WGI to an I 117, then up two steps to
                ll19 ($12,114), and the correct promotion then would be to l2l3 (S73,396).

        EXAMPLE:

              Research and Writing Specialist Mary Jones, grade/step l2l3,is being promoted
              on a non-anniversary date. Advance to l2l5 ($77,983), then promote to the 13/l
              level ($81,823). For Ms. Jones, an anniversary-date promotion would result in
              the same new grade/step: l2l3 to 1214, then to 1216 ($80,276), and the promotion
              to l3/l ($81,823).

  D.    Quality Step Increases (QSIs)

       The judiciary's Quality Step lncrease (QSI) Program was designed to recognize
       and reward, on a continuing basis, employees who maintain outstanding
       performance. The QSI program was approved for graded personnel by the Judicial
       Conference at its 1976 session; but QSIs were suspended for all personnel in
       Fiscal Year 1993. At its March 1998 session, the Judicial Conference granted
       federal defenders the authority to reinstate QSIs for graded employees in their
       organizations, to the same extent and within the same constraints as the offices of
       United States Attorneys. The policy for granting QSIs can be found in the
       Federal Defender Operations Manual.




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      E.    Awards

            The awards program set forth in the Guide to Judiciary Policy for court
            employees specifically excludes FPDOs. The awards available to FDO
            employees are Quality Step lncreases (QSIs), which are discussed above, and
            Time-Off and On-the-Spot Awards, discussed in this section.

            In December 2009, the Defender Services Committee approved the establishment
            of an FDO awards program to implement Time-Off and On-the-Spot Awards for
            employees of FDOs, comparable to awards available to employees of USAOs.

            The policy for granting awards can be found in the Federal Defender Operations
            Manual.

            As set forth in the Guide, Volume 12, Chapter, 6,5660.30, the aggregate pay for
            any FDO employee may not exceed the salary of a district court judge.

      F.    Demotions

            A demotion is a change to a lower grade, based upon an employee's
            unsatisfactory job performance. Should this type of action be necessary, please
            refer to the Guide, Volume 12, Chapter 6, 5645.60.

VIII. Exceptions to DOCS Requirements
      A.    General

            Although DOCS positions will continue to be reviewed and revised as
            appropriate, requests for exceptions are anticipated. All requests for exceptions
            will be considered; however, exceptions will be granted only in truly unusual
            circumstances or when the proposed exception points out a problem with a DOCS
            position or policy that should be corrected in the next revision of that position
            description.

      B.    Process for Obtaining Approvals for Exception Requests

            A written request for exception should be sent to the ODS, fully detailing the
            reason(s) for the request. The ODS will evaluate the request. The ODS will
            promptly distribute the request and the ODS evaluation to the DOCS Expert
            Panel. The request will be considered, and a determination will be made.
            Written approval will be forwarded to the requesting Defender as soon as
            possible. If the exception request is denied, a written explanation will be
            provided to the Defender.




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IX.     Updating and Revising DOCS

        A.    Identifying Need for New Positions Or Revisions to Existing Policies

              As the priorities and requirements of the federal defender program change in
              future years, DOCS will be subject to review and revision. If a Defender, or group
              of Defenders and/or Administrators, believes there is a need to create a new
              DOCS position, or a series of positions, a detailed proposal should be submitted
              to the ODS. The ODS will evaluate the request, and consult with the Executive
              Office for United States Attorneys (EOUSA) to determine whether a comparable
              position, or series of positions, exists in the USAOs. All suggestions for new
              DOCS positions and the ODS evaluation will be forwarded to the DOCS Expert
              Panel for further action. The ODS and the DOCS Expert Panel will follow a
              similar protocol when evaluating requests to revise existing DOCS requirements
              and policies.

        B.    DOCS Expert Panel

              The DOCS Expert Panel will continually work with the ODS to update and revise
              DOCS as needed. The DOCS Expert Panel will develop new positions, modify
              existing DOCS policies, and review requests for exceptions to DOCS
              requirements and generally represent the Defender community in all DOCS-
              related matters.

        C.    DSC Approval of New Positions

              The DSC does not review and approve each individual DOCS position
              description. The DSC is notified and approves the series or types of positions
              available to defender organizations. When the ODS and DOCS Expert Panel
              have determined that additional positions are necessary, a proposal concerning the
              development of new position descriptions is submitted by the ODS to the DSC for
              approval. After DSC approval is received, the positions are developed and
              adopted by the Defenders as outlined below.

        D.    Drafting New Position Descriptions

              The ODS and the DOCS Expert Panel will identify the individual(s) in the
              defender community who are most familiar with requirements of the position
              description(s) under development, and will request that those individuals draft the
              new position description(s). The new DOCS positions will be forwarded to all
              members of the DOCS Expert Panel, and selected staff members in the ODS and
              OHR at the AOUSC, for review and comment. The ODS and the DOCS Expert
              Panel chair will jointly agree on finalizing each position description. For new
              national positions, the DOCS Expert Panel is not consulted. Instead, the
              appropriate oversight committee or advisory group participates in the process of
              developing the new national position descnptron.
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              The new DOCS position description(s) will be distributed to all Defenders for
              review and comment, revised as considered appropriate by the ODS and the
              DOCS Expert Panel, and then redistributed for adoption by a vote of the
              Defenders. The approved positions will be incorporated into the DOCS Manual
              and distributed to the defender community. New national position descriptions
              are distributed to those with direct knowledge and involvement in the national
              program.

       E.     Revisions to Existing DOCS Policies

              When a Defender has a suggestion for a revision to an existing policy, a written
              request should be sent to the ODS, fully detailing the reason(s) for the suggested
              change in policy. The ODS will evaluate the request. All suggestions for
              revisions to DOCS policies and the ODS evaluation will be forwarded to the
              DOCS Expert Panel for further action. The request will be considered, and an
              initial determination will be made about the feasibility of the proposal.
              Depending on the nature of the proposed policy, the issue may require additional
              research or coordination with one or more of the advisory or working groups.
              The ODS will determine if final disposition of the request will be issued by the
              Assistant Director, ODS, or by the DSC based on the scope and impact of the
              proposed change. Written notification of the outcome will be forwarded to the
              requesting Defender by the ODS as soon as possible.

x.     The Comparative Salary and Experience Scale

       The following table provides summary grade and experience requirements information
       for each DOCS position. Each position is listed in the far left column. Moving
       horizontally, the numbers in each column represent the number of years of general and
       specialized experience (expressed as g/s) required to qualify for the grade listed at the top
       of each column.

       Please note: The general and specialized years of experience identify qualifications
       requirements for the employees holding these positions at these grade levels. Some
       positions have specific grade qualifiers. Please refer to the DOCS descriptions when
       making grade determinations.




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 DOCS: COMPARATIVE SALARY AND EXPERIENCE TABLE
 Summary of Grade Levels, General and Specialized Years of Experiencefor all DOCS Positions
 (updated May 14 2012\




Legal StuJf

First Assistant Defender (AD-37)
Second Level Supervisor (AD-37)
Third Level Supervisor (AD-31, AD-35)
Senior Litigator 1AD-33, AD-35 (if pre-3/2411995))
Assistant Federal Det-endcr (AD-21, AD-24 to29)


Research and Writing Specialist
      ln lern


Chief Paralegal
Paralegal
Assistant

Chief Investigator
Investigator
Assistant Investigatol


Chief Interpreter
Interpreter
Librarian

Secretary to Defender
Secretary to First Assistant
Senior Legal Assistant
Supervisory Legal Assistant
      Assistant


Administrative

Administrativc Officer
Supervisory Administrativc Assistant
Administrativc Assistant
Financial Administrator
Personnel Administrator
Property and Procurerncnt Adrninistrator
Panel Administrator



                      Techn

Superuisory Computer Systems Administrator
Computer Systems Administrator
Assistant Computer Systems Adnrin istrator




Administrative Secretary                                   2/t   2t2   2t3
Case Managcrnent Assistant                                 2/t   2/2   2t3
Pancl Assistant                                            2/t   2/2   2t3
Clerical Assistant                                   2t0   2il   212

Rcceptionist                                         2t0   2/l   212




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  August 19, 2016

  William Moormann, Administrative Officer
  Office of the Federal Public Defender
  129 West Trade Street, Suite 300
  Charlotte, NC 28202

  Dear Mr. Moorrnann:

  I am applying for a position as a Research and W                    in the Charlotte office, starting
  rn thc              17. I graduated with honors                             School of Law, where I
  servcd on th        Larv Joumal I nr sL'r\ intl a                                              Coun
   $,ith the                                          Recentll. I clerked for Judge                fthe
                   Court of App.eals. Previously, I clerked for Judge James JonE                  nited
lircuit
 TlElFDistrict    Court for the Western Disrrict of
  Sl?i?EiDistrict Coun                                           d Chief Justrce
                                                                           Justtce              of rhe
             Supreme Court. As result ofthese expenences, I apply with an
                                  a                                                             r,rf the
  terrific opportunity working in the Federal Defendcrs Officc would provide.

  My interest in working as a public defender hegan during my intemship for the Federal Public

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  variety of criminal matters and assisted in implementing the U.S. Scntcncing Cornmission's
 Jetroactive reduction ofdrug sentences pursuant to Amendment 782. As a law clerk for Judgc
 fl       worked on a number of cnminal appeals, including issues such as the voluntariness of a
  defendant's guilty plea, whcther policc interrogatcd a dcfcndant in violation of his constitutional
  rights, and interpretation of the Sentencing Guidelines.

 Asa                          I cxpcct to further develop my knowledge of federal criminal law,
 including the Sentencing Guidelines, by working with the criminal law comminees as part ofthe
 Judicial Conference. In addition, I plan to conduct a study of administrative and procedural
 discrepancies in the implementation of retroactive Guidelines amendments.

 My prior experiences have given me the strong research, writing, and communication skills
 necessary for this position- Having majored in Spanish, I would also be able to communicate
 with Spanish-speaking clients. I have enclosed a resume f,or your review.

 Thank you for your consideration.




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 FEDE RAL PUBLIC DEFENDER
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 Far l?D4l 37{-071:                                                                                    Frx (828) 232-5t75




       March24,2017




       ,.*f
       Re: 0ffer letter For attorney position




                  This offer letter coqfrms our tonversafior regarding your employnent as, a Research and
       \lriiing Speclalist AItomel, with the expectation that you will traruition to an Assistant Defender
       position. You will be worting at the Charlotrc Hezdquarters Office. Yoru salary has been sel in
       acecirdance widr Det'ender Services OIEce pglicy at Grade 14, St€p 1. eaming 5101,929 per a{rfttnl
       including lo<xlity pay. At this time, we upect your start drte to bebetu,ecn July 15 and August 15,
       20 t7. brLt that may change depending upon circrnnsrances.


               You will be eLgtle for the federal beneEt-s package includiry hqlth insurance, dental
      in-suranca life insurance, and retiremsrt berrefits- You *ill accrue sick leave ai the rate of 4 hours per
      pay period and accnre annual leave at the rate of 4 hours perpayperid, Eoploymert teflus are subject
      to final approrlal b1.the Defcnder Services Ofiice andthe Adrninisrrative Offiee of the Corrts.

                We are exctted about the talents and skilts yoa bring to this position ald ere looking forward
       to rrorking *ith you.

                  lf you have any questions. please contacr Wil]iam Moormarn, our Administrative Of6cer,


                                                               SincercIy,

                                                                    €* i*.,r^"*,[Sn,^
                                                               Ross Richardson
                                                              Federal Ilblic Ddender, Interim

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                           RESEARCII AND WRITING SPECIALIST

 A. DEFINI I'ION
Thc Research and Writing Specialist provides advaoccd rcscarch and wnting scwices to assistant
federal defender (AFD) staffon trial and appellate cascs. The individual in this position must be an
attomcy. The Rcscarch and WritiDg Specialisl writes bricfs, motions, pctitions for certiorari, and
legalmcmoranda forreview bythc Defenderald staffattomeys. General duties inctude examining,
analyzing and rescarching rccords and issues; performtng legal research and preparrng legal
documents; assisting AFD sraffwith all aspects ofcase preparation, training aad continuing Iegal
education and supervision of othcr research staff as appropriate.

The Research t6d fuiling Specialbt does nol ordintrily sign pleadings or make cou
appearsnces The Rcscarch and lfritiag Specialist positioa is nol iatended to serye as a proxy,
substitule, or rcplacemeil lor an AFD position, nor in the ploce olan oddilional AFD position.

The Research and Writing Specialist, undcr supervision of the responsible AFD, may sign pleadings
or make court appearances in exceptional circumstances, but only if the following conditions are
met:

(l)       the RWS has exu-aordinary case-specific expenise; the RWS has performcd an exceprionally
          large amount of high quality work on the case; the RWS has an unusually strong interest io
          the case issues; tlle Defender concludes that a court app€arance, underdirect supervision, is
          appropriate for training purposes; or in otl:er exceptional circumstances as determined by the
          Defcndcr wbcn necessary to protect thc clicnt's interest;
(2)       authonzation ofthe appropriate coun; and
(3)       if mandated by the laws of the statc or the local rules of thc district in which the defender
          organizatioD is located, the RWS must be admined ro the bar of that state and to the bar of
          the fedcral court.

B. PRIMARYJOBDUTIES

The Research and writing Specialist perlorms or supervises thc performance of tasks such as the
following:

I Assiss the assigned attorncy in rhe preparation of motions and briefs for review and signanue by
      the Defender or the responsiblc case attomey for filing in federal magistrate, district. and
      appellate courts. Also assists in the preparation ofpetitions for certiorari

2. Assists the sssigned attomey in the preparation of legal memoranda for review and signature by
      the Defender and staff attomeys. Assists in the prcparation ofjurisdicrional statements, revicw
      of issues, comprehensive statements of relevant facts, standards of reyiew, and briefs complex
      legal and factual argumcnts- Advis€s the responsible anomey regardrng all rssues relevanr to the
      case.



                                     REsEARCH AND WRTNNG SPECIALIST
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                          RESEARCH AND WRITING SPECIALIST

A. DEFINITION

The Research and Writing Specialist provides advanced research and writing services to assistant
federal defender (AFD) staff on trial and appellate cases. The individual in this position must be an
attorney. The Research and Writing Specialist writes briefs, motions, petitions for ceftiorari, and
Iegal memoranda for review by the Defender and staff attorneys. General duties include examining,
analyzing and researching records and issues; performing legal research and preparing legal
documents; assisting AFD staff with all aspects of case preparation, training and continuing legal
education and supervision ofother research staffas appropnate.

The Research and lYriting Specialist does not ordinarily sign pleadings or make court
appeorances. The Research and |l/riting Specialisl position is not intended to serve as a proxy,
substitute, or replacementfor an AFD position, nor in lhe place of an additional AFD position.

The Research and Writing Specialist, under supervision of thc responsible AFD, may sigr pleadings
or make court appearances in exceptional circumstances, but only if the following conditions are
met:

(l)       the RWS has extraordinary case-specific expertise; the RWS has performed an exceptionally
          large amount of high quality work on tle case; the RWS has an unusually strong interest in
          the case issues; the Defender concludes that a court appearance, under direct supervision, is
          appropriate for training purposes; or in other exceptional circumstances as determined bythe
          Defender when necessary to protect the client's interest;
(2)       authorization ofthe appropriate court; and
(rl       if mandated by the laws of the state or the local rules of the district in which the defender
          organization is located, the RWS must be admitted to the bar of that state and to the bar of
          the federal cour1.

B. PRIMARY JOB DUTIES

The Research and Writing Specialist performs or supervises the performance of tasks such as the
following:

1.    Assists the assigned attorney in the preparation of motions and briefs for review and signature by
      the Defender or the responsible case attorney for filing in federal magistrate, district, and
      appellate courts. Also assists in the preparation of petitions for certiorari.

      Assists the assigned attorney in the preparation of legal memoranda for review and signature by
      the Defender and staff attomeys. Assists in the preparation ofjurisdictional statements, revicw
      of issues, comprehensive statements of relevant facts, standards of review, and briefs complex
      legal and factual arguments. Advises the responsible attorney regarding all issues relevant to the
      case.



                                      RESEARCH AND WRITING SPECIALIST
                                  Defender Organization Classification Sysrem - DOCS
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     Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 56 of 102
3. Examines complex and diverse records. Reviews the record proper, exhibits, transcripts and
    tapes of trials and hearings in habeas and direct appeals cases. Analyzes the record and
    determines relevant legal issues. Determines the need for an evidentiary hearing and prepares
    evidence for presentation.

4. Performs legal research utilizing all available resources including computer-assisted legal
    research tools. Research includes state and federal statutes, case law, regulations, precedents,
    treaties, sentencing guidelines, and related subject matter.

5. Analyzes the potential impact of new legislation, policies and regulations on the defender
    organization. Develops and recommends short and long-range plans.

6. Updates research in preparation for oral argument by the responsible attorney. Consults with the
    attorney regarding the priority of issues, difficulties of the case and possible responses to panel
    questions.

7. Supervises law students, legal intems and paralegals where appropnate.
8. Analyzes legal decisions, opinions, rulings, memoranda and related legal materials, and prepares
    digests and indexes of same. Compiles and summarizes substantive information on statutes,
    treaties and specific legal subjects.

9. Coordinates and assists in coordinating training and CLE programs for office staff (and Panel
    attomeys where appropriate.)

10. Performs all other duties as assigned.

C. ORGANIZATIONAL RELATIONSHIPS

The Research and Writing Specialist reports to the Defender or other supervisor as designated by the
Defender.

D. QUALTFTCAI'IONS

To quali$ for the position of Research and Writing Specialist, the individual must demonstrate the
requisite experience outlined inthe Salary and Experience and Experience Requiremenls sections.
The individual must be able to perform each essential job duty satisfactorily. The job requirements
are representative of knowledge, skills, and/or abilities necessary to perform the essential functions
of the job.

The Research and Writing Specialist must be an attorney with knowledge of defense or prosecution
services, in either the public or private sector.

Requirements include admission and good standing to a federal and state bar (see DEFINITION,
subpart (3)).

                                    RESEARCH AND WRMING SPECTALIST
                                Defender Organiation Classifietion System - DOCS
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E. SALARYAND EXPERIENCE SCALE
  DOCS Grade Lcvel              Years of General                  Years of Specialized    Total Years of Experiencc
                                                                      Exoerience
           9                           l                                     2                        5
            I                          J                                     J                        6
            2                          J                                     4                        7
            J                          3                                     5                        8
            4                          3                                     6                       9
           15                           t                                    1                       r0

Note: One year of the required experience must have been at, or equivalent to, the next lower grade
in federal service. Experience that has not provided training or required the application of the
knowledge, skills and abilities outlined in the Primary Job Duties section above is not creditable
experience. Specialized experience may always substitute for general cxperience but general
experience may not substitute for specialized expenence.

F. EXPERIENCE REQUIREMENTS

General Experience

Experience that provides evidence the individual has:

       r        a general understanding of the methods and skills required for accomplishing the tasks
                outlined in the Primary Job Duties section above;
       !        a general understanding of office confidentialify issues, such as attomey/client privilege;

       '        the abiliry to read, analyze and interpret common technicaljournals and legal documents;
       '        the ability to apply common sense understanding to carry out instructions fumished in
                written, oral or diagram form;
       '        the ability to analyze and apply relevant policies and procedures to oflice operations;
       I        the ability to exercise good judgment in a marure and diplomatic manner;
       .        the ability to communicate orally and in writing;
       r        a general knowledge ofoffice practices and legal processes;
       '        the ability to recognize and analyze problems and recommend practical solutions;
       .        the ability to use a personal computer

Specialized Experience

Progressively responsible legal experience in the functional areas described in the Priman, Job
Duties section above. Such experience provides the individual:

       r a comprehensive knowledge of legal principles, practices, methods and techniques;
       ' tle ability to identi! and evaluate pertinent facts and regulations, policies and
         precedents;
       . skill and judgment in the analysis of cases and lcgal opinions;
       . understanding of criminal law, criminal procedure, and evidence,
                                        RESEARCH AND WRITING SPECIAI-IST
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        .   a knowledge of sentencing guidelines and evidence handling;
        .   experience performing progressively responsible duties of a lawyer;
        r   the skills and ability to execute the duties of the position.

G. EDUCATIONAL SUBSTITUTIONS
Education above the high school level in accredited institutions may be substituted for the general
experience on the basis of one academic year (30 semester or 45 quarter hours) equals nine months
of experience.

Completion of all the requirements for a bachelor's degree from an accrcdited college or university
and having met one of the following may be substituted for one year of specialized experience:

    1. An overall "B" grade point average equaling 2.9 or better of a possible 4.0.
    2. Standing in the upper third of the class.
    3. A"B+"(3.5)gradepointaverageorbelterinmajorfieldsofstudysuchasbusinessorpublic
        administration, criminaljustice, political science, law, managcment or other field closely
        related to the subject rnatter of the position.

    4. Election to membership in Phi Beta Kappa, Sigma XI, or one of the National Honor
        Scholastic Societies meeting the minimum requirements of the Association of College Honor
        Societies, other than Freshman Honor Socretres.

Completion of one academic year ( l8 semester hours) of graduate study in an accredited universily in
such fields as business or public administration, criminal justice, political science, Iaw, management
or other field closely related to the subject matter of the position, may be substituted for one year of
specialized experience.

Completion of a master's degree or two years of graduate study (36 semester hours) in an accredited
universiry in such fields as business or public administration, criminal justice, political science, law,
management or other field closely related to the subject matter of the position, or complction of a
Juris Doctor (JD), may be substituted for two years of specialized experience.

H. PITYSICAL DEMANDS AND WORK ENVIRONMENT

The physical demands described are representative of those required in order for an individual t<l
successfully perform the essential functions of this job. Reasonable accommodations may be madc
to enable individuals with disabilities to perform the essential functions.

While performing the duties of this job, the individual is regularly required to sit and talk or hear.
The individual frequently is required to use hands to touch, handlc, or feel. The individual is
frequently required to stand, walk and reach with hands and arms. The individual must occasionally
lift and/or move up to 25 pounds. Frequent travel to court locations and detention facilities may be
required. The individual will spend most of his/her time in an office environmcnt.


                                     RESEARCH AND WRITING SPECL'IIST
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Effective Date NOA           Dercription         Dept lD
   8/21/2011   9l4lChange an Home/W2 Address   1111000163    S94,790 oo
   a/21/2A77   935 nter lud c ary Agency                    5101,929 00 Transfer to FPDwNc
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  70/3O/2077   893 Step lncrease               F04NCWX      S105,327.00 91,074 base + 14,253 localiW
    ual2018    894                             E04NCWX      s107,319.0C ECI lncrease 92,349 base + 14,970 localitv
   7/16,       780lName Chanse From            FO4NCWX      s107,319 0C
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   8l20/2018   894                             FO4NCWX      s107,319 0C GS




           Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 60 of 102
Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 61 of 102
                         ASSISTANT FEDERAI- DE FE NDER

 A. DEFINITION
 The Assistant Federal Defender (AFD) provides every aspect of legal representation to
 individuals charged with federal criminal ofl'enses but who are unable to retain an
 attorney. Duties include trials and court hearings, direct appeals to the circuit court,
 habeas, post-conviction and witness representation, and representation in other matters
 such as supervised release hearings and probation and parole hearings.

 In districts where an AFD is the only attorney in a branch of/ice, some uncompensated
 supervisory duties may be assigned. The Federal Public/Community Defender,
 however, hasfull responsibilityfor all actions of the AFD.

 B. PRIMARY JOB DUTIES

 The Assistant Federal Defender performs tasks such as the following:

 l. Provides zealous, professional legal representation to his/her clients. Appears,
      behalfofthe client, in court hearings and at other related proceedings.

 2    Communicates with the court, opposing counsel, probation officers, witnesses, clients
      and the families of clients concerning case-related issues.

 3.   Maintains in-depth and updated knowledge of criminal defense trial and appellate
      practices and case law. Develops expertise with the federal sentencing guidelines,
      understands the ethical obligations and restrictions and practices courtroom advocacy.
      Pursues all appropriate available training opportunities including local or nationally
      sponsored core training within the limits of funding, workload and defender
      organization approval.

4     Prepares motions and briefs for consideration in federal magistrate, district, and
      appellate courts. Also prepares petitions for certiorari.

5.    Prepares legal memoranda, review of issues, comprehensive statements of relevant
      facts, standards of review and briefs complex legal and factual arguments. Consults
      with investigative and legal staff regarding issues relevant to the case.

      Examines complex and diverse records. Reviews the record proper, exhibits,
      transcripts and tapes of trials and hearings in habeas and direct appeals cases.
      Analyzes the record and determines relevant legal issues. Determines the need for
                                                                                        an
      evidentiary hearing and prepares evidence for presentation.

7.    Performs legal research utilizing all available resources including computer-assisted
      legal research tools. Research includes state and federal statutes, case         law,
                                    ASSISTANT FEDERAL DEFENDER
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Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 62 of 102
      regulations, precedents, treaties, sentencing guidelines, and related subject matter.
      Analyzes legal decisions, opinions, rulings, memoranda and related legal materials.
      Compiles and summarizes substantive information on statutes, treaties and specific
      legal subjects.

8. Analyzes the potential impact of new legislation, policies and regulations on the
      defender organization. Recommends short and long range plans to ensure efficient
      operatrons.

9. Updates research and prepares for oral argument. Prioritizes issues, analyzes
      diffrculties ofthe case and prepares responses to possible panel questions.

10. Continues development of strong written and verbal communication skills to enhance
    professional documentation and interpersonal interaction.

1   l. Performs all other duties as assigned.

C. ORGANIZATIONAL RELATIONSHIPS
The Assistant Federal Defender reports directly to the Federal Public/Communiry
Defender or other supervising attomey as designated by the Defender.

D. QUALIFICATIONS
To qualifu for the position of Assistant Federal Defender, the individual must
demonstrate the requisite experience outlined in the Salary and Experience and
Experience Requiremenls sections. The individual must be able to perform each essential
job duty satisfactorily. The job requirements are representative of knowledge, skills,
andlor abilities necessary to perform the essential functions of the job.

The Assistant Federal Defender must be an attorney with knowledge of defense or
prosecution services, in either the public or private sector.

Requirements include admission and good standing before the federal bar, in combination
with admission and good standing to a state bar. If mandated by the laws of the state or
the local rules of the district in which the defender organization is located, admission to
the bar of that state, or a commitment to admission to that bar within ayear of acceptance
of the position, is also required.

E. SALARY AND EXPERIENCE
The salary of the Assistant Federal Defender may not exceed the maximum salary level
established for that position by the Executive Office for United States Attomeys
(EOUSA) and must conform to the AFD Appointment and Compensation policies

                                     ASSISTANT FEDERAL DEFENDER
                             Defender Organization Classification System
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provided by the ODS. lnformation concerning the salary maximum for this position is
updated as received from the EOUSA and is provided to all defender organizations.

F. EXPERIENCE REQUIRI,MENTS

Progressively responsible experience as a lawyer in the functional areas described in the
Primary Job Duties section above. Such experience provides evidence the individual
has:

a      the ability to coordinate the work of others;
a      a comprehensive knowledge of legal principles, practices, methods and techniques;
a   the ability to identiff and evaluate perlinent facts and regulations, policies and
    precedents;
a      skill and judgment in the analysis of cases and legal opinions;
a      an understanding of criminal law, criminal procedure, and evidence;
a   experience performing progressively responsible duties as a lawyer;
a   the skills and ability to execute the duties of the position.

G. PHYSICAL DEMANDS AND WORK ENVIRONMENT

The physical demands described are representative of those required in order for an
individual to successfully perform the essential functions of this job. Reasonable
accommodations may be made to enable individuals with disabilities to perform the
essential functions.

While performing the duties of this job, the individual is regularly required to sit and talk
or hear. The individual frequently is required to use hands to touch, handle, or feel. The
individual is frequently required to stand, walk and reach with hands and arms. The
individual must occasionally lift and/or move up to 25 pounds. Frequent travel to court
locations and detention facilities may be required. The individual works primarily in an
office environment.




                                    ASSISTANT FEDERAL DEFENDER
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Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 64 of 102
2018* Line AFD Salary Charts

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           AD26                6-7                      E        76,487 -            $116,642

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           AD28                8-9                      3        08,:m1 -            3131.653

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Rev 7/9 I
                                                                 REQUEST FOR PBRSONNELACTION
U.S Ofticc of PcBonncl Management
                          Penonnel
                        eouestins               rce              (Also complete Part B, Items 1,7-223233,36 ard.39)
 l. Actions Requested                                                                                                                                                                                       2 Rcqucst Number
      Pnsition Chanoe                                                                                                                                                                                          470202
 3 For Additional lnfomation Call               (Name and Telephone Number)
     William Moormann
     This request is submitted with the approval of the court                                                                   By
                                                                                                                   6. Action Authorized                     (Typed Nme, Titte, Signature, and Date)
     and is electronically signed by:                                                                               Anthonv Martinez
                                                                                                                    Federal'Prrhlic Defender
                        Dr PreDaration o                                se on-ly codes in The Guide to Personnel Data Standards.                                  Show all dates in month-dav-year order.)
 I                                                                                                                                                                       .,1                                 4 Effcctive Datc
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 5-A. Code            5-B. Nature ofAction                                                                          6-4. Code               6-8. Naturc ofAction

     984               Reclassification
 5-C Codc             5-D. Irgal Authority                                                                          6-C Code                6-D Legal Authority
                       AO 52 dated xx-xx-xxxx
     s52               08n6t2018
 5 E. Codc            5-F. Legal Authority                                                                          6 E Codc                6-F. Legal Authority



 7. FROM: Position Title and Number                                                                                15. TO: Position Title   ud Number

     Research & Writing Specialist                                                                                   Assistant Federal Public Defender
     PD:541011                                           Position:                                                   PD:540400                                                     Position:

 8.Pay Plan | 9.Occ. CD           l0.Grd./Lvl         I l.Step/Rate    I 2 Tot. Salary       I   3 Pay Basis       16.Pay Plar   l7.Occ. CD         18.tu/Lvl           l9.Step/Ratc     20.Tot. Salary/Award      2l.Pay Basis

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 14 Name and Location of Position's Organization                                                               22. Nme and Lcation of Position's Orgmization



                                                                                                                    Federal Public Defender Office
                                                                                                                    129 West Trade Street
                                                                                                                    Room 300
     Chqrlnfie Na IISA                                                                                              Charlotte NC USA

 23. Vetemns Preference
----l       t-Nor"           3-l0Point/Disability                5-l0Point/Other
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 21 FtIGLI                                                                                                     28 Annuitant Indicator                                                           29. Pt Ratc Dctcminmt

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 30. Rctirement Plan                                    3l Sewice Comp. Dale (L6ve)                            32 Work Schedule                                                                 33. Pan-Time Hours Pm Biweklv
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 34. Position Occuoied                                                 35. FLSA Cateeory                       36. Apprcpriatioo Code
        I l-Competitive Service 3-SES General
     2 I 2-Exceoted Service 4-SES Creer Reserved
                                                                       -l:n:*-
 38 I)uty Station Codc                                      39. Duty Station (City-County-State or Ovencm Lmation)

                                                             Cherlotte NC
40. Agency Data                       4t                                   42. SCD LL,U                 43                                    44
     LEI: 10-30-2017                    WGI: l0-29-2018
45.    Action          | 46 Reason           | 47. Pay Rate Dcter                                                  48. Bud Cat                49. Org Title      Code           | 50. Jobcode                 5l Paygroup
      POS I                     nel I Resular Rt                                                                       0llE                     0000                            I 540400                      c04
 PAR'f' C - Reviews and ADDrovals                (Not                             to be used by requesting office.)
 l. Office/Function                  Initials/Signaturc                    Dcte                                l. Officc/Function                    lnitials/Sisnaturc                   I Date
                                                                                                               D
                                     William Moormann                              08-16-2018
 B                                                                                                             E


 C.                                                                                                            n



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Name:                                                                                                         PAR Number:                      470202
 PART D - Remarks by Requesting Office
               Should be Set at AD level 28 To be set at AD 28 Salery should remain $107,319




PART E - Employee Resignation/Retirement
1. Reasons for Resignation/Retirement (NOTE: Your reasons are used in determining possible unemployment benefits.
   Please be specific and avoid generalizations.
   Your resignation/retirement is effective at the end of the day - midnight - unless you specify otherwise.)




2. Effective Date           3. Your Signature               4. Date Signed            5. Forwarding Address   (Number, Street, City, State, ZIP Code)




PART F - Remarks for SF 50




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                                    Position Announcement
            ASSISTANT FEDERAL PUBLIC DEFENDER (APPELI-ATE)
                          Office of the Fedetal Public Defender
                  W'estern District of North Carolina (Chadotte Office)


The Office of the Federal Public Defender for the W'estetn Disttict of North Carolina is
accepting applications for an Assistant Federal Public Defender to join our appellate team in
the Chadotte Office. The Federal Public Defendet operates under authority of the Criminal
Justice Act, 18 U.S.C. 3006A, to provide defense services in federal crirninal cases and
related matters by appointment from the court to individuals unable to afford counsel.


Duties. In addition to handling traditional appeals, our appellate team provides extensive
Iegal-issue support to the offlce's trial teams while also aggtessively pursuing post-conviction
telief in appropriate cases. Accordingly, the duties of this position may include: (1)
tesearching, briefing, and atguing cases in the Fourth Circuit and the Supreme Coutt; (2)
assisting the office's trial attorneys in identi$ring legal issues in pending cases, and
researching and dtafting modons, objections, and memonnda in those cases; (3) Iitigating
post-conviction motions arising from reftoactive judicial decisions or Sentencing Guidelines
amendments; and (4) monitodng relevant legal developments and helping to train the
office's lawyers, and other crirninal defense practitioners, ofl the impact of those
developments. The balance of responsibilities among these duties will vary depending on the
office's needs at arry particular flme.

Requirements. Candidates must be law school graduates and membets in good standing of
the bar of any state or federal district court. Attomeys applying for this position should have
sufficient experience to undertake the defense of serious cdminal cases befote the United
States District Court and the Fourth Citcuit Cout of Appeals. Appointment is subject to a
satisfactory background investigation, including but not limited to an FBI name and
fingerprint check and an IRS tax check. The private practice of law is prohibited.

Selection Criteria. The successfirl applicant will have a stroflg academic background and
excellent research, writing, and oral advocacy skills. Appellate experience in federal court is
preferred. Priot judicial cletkship experience is preferred.


Salary and Benefits. The salary of an assistant federal public defender is commensurate
with that of an assistant U.S. attomey with similat qualifications and experience. The
position is in the excepted service and does not c rry the tenure rights of the competitive
Civil Service. The position offets fedetal governmeflt employment benefits, including




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participation in health and life insurance program, retirement, and the Thrift Savings Plan.
Salary is payable only by Electronic Funds Transfer (direct deposit).

How to Apply. You may apply by submitting a letter of interest, résumé, and representative
writing sample, along with 3 references, to WDNCapplication@fd.org. Please describe in
detail your experience with appellate work and motions practice.

For applicants with disabilities, this organization provides reasonable accommodations
which are decided on a case-by-case basis. To request a reasonable accommodation for any
part of the application or interview process, please submit the request in writing to
WDNCapplication@fd.org.

Position announced July 25, 2018; open until filled. Applications received by August 17,
2018, will be given priority consideration.

              Federal Public Defender is an equal-opportunity employer.




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Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 71 of 102
FEDERAL PUBLIC DEFENDER
WESTERN DISTRICT OF NORTH CAROLINA                                                                Ross Richardson
                                                                                  Fedelal Publ ic Dcflender', Intelirn

129 West Trade Street                                                                                 I Page Avenue
Suite 300                                                                                                   Suite 210
Charlotte, NC 28202                                                                            Asheville, NC 28801
(704) 374-0720                                                                                      (828) 232-9992
Fax (704) 374-0722                                                                              Fax (828) 232-5575




    September 12,2018




    Offer letter


    This offer letter confirms our conversation regarding your employment as a Terrn (Year and one
    day) Assistant Federal Public Defender, Appellate working at the Charlotte Headquarters Office.
    Your salary has been set in accordance with Defender Services Office policy at AD 25, eaming
    $98,789 per annum, including locality pay. Your start date has been determined to October 1 2018.

    You will be eligible for the federal benefits package including health insurance, dental insurance,
    life insurance, and retirement benefits effective 2 weeks after your start date. You will eam annual
    leave at 4 hours per pay period and sick leave at 4 hours per pay period. Employment terms are
    subject to final approval by the Defender Services Office and the Administrative Office of the
    Courts.

    We are very excited about the opportunity to work with you and the talents and skills you bring to
    this position.

    If you have any questions, please contact William Moormann, Administrative Officer.

                                                         Sincerely,




                                                         Anthony Martinez
                                                         Federal Public Defender




         Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 72 of 102
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      Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 73 of 102
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          Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 74 of 102
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          Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 75 of 102
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          Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 76 of 102
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        Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 77 of 102
                   Re: Reconflguraton of Ofnce Spaca (Caleb's ofrioe)
                   Ross Richardson lo Amanda Buckner                                     0612312011 O2:O3 PM


This is approved

Sent from my iPhone

On Jun 23, 2017, at 10:42 AM, Amanda tsuckner <Amanda Buckner(rDfd.ore> wrote:

       Ross:

       I reached out to three vendors to get quotes for reconfiguring the space to allow
       for two attorneys in Caleb's office. Right now, it looks like lhe total price will be
       under $9,000 for the lurniture and installation. I am seeking formal approval for
       this proiect.

       Please let me know if you have any questions.

      Thank you,

      Amanda


      <0.26C.jpeg>

      CONFIDENTIALITY NOTE

      This e-mail. and any attachments accompanying this email, contain information from the Federal
      Public Defender Westem District of Norlh Carolina which is confidential or privileged. The
      information is intended only for the use of the individua(s) or entily(s) named in this e.mail. lf you
      aie not the intended recipient, be aware that any disclosure, copying, distribution, or use of the
      contents of this infomation is prohibited. lf you have received this e-mail in error, please notify us
      immodialoly by reply email.




 Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 78 of 102
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              Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 79 of 102
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          Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 80 of 102
  AMI]NDED PURCIHSE /DELIYERY / TASK ORDER T'OR SUPPLTES OR SI]RVICOS                                                     PACE         PAGE(S)

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            Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 81 of 102                                                                        I
     AMENDED PURCIIASE / DELIVERY / IASK ORDER FOR SUPPLIES OR SERVICES                                                    PAGI         IAGE(S)
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Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 85 of 102
William Moormann

From:                      William Moormann
Sent:
To:
Subject:                   RE: whereabouts




Different issue, We are relocating some people in the office and have an actual office with a door for you. We are
relocating a new Paralegal and Claudia to the back office. The plan is to relocate you to Brian Wise's old office (Terra's
office is also open but lthought you would want Brian's instead). Claudia will take Caleb's old space and the new
Paralegal will be taking your old space. She will be starting on October 29th' 2 weeks from today. We need to plan on
relocating your office within those 2 weeks.

Pleaseadviseon the best waytoaccomplish this. With you r approval lcan relocate your items, however for privaq/
reasons it would be best if you were to do that.

Thank for your help with this.

Bill




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From:
Sent: Monday, October 15, 2018 8:25 AM
To: zzNCWml_Allstaff <zzNCWml_AllStaff @fd.org>
Subiect: whereabouts

I will be traveling to the Second Circuit Court of Appeals in NYC to serve on a panel with Chief Judge Robert Katzmann
and Jeffrey Minear, Counselorto the ChiefJustice, regarding the Supreme Court Fellows program. lwill be returning on
Wednesday and will be checking email only sporadically tomorrow. Thank"
                                                                                                  I


Federal Public Defender for the Western District of North Carolina
129 West Trade Slreet, Suite 300
Charlotte, North Carolina 28202



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Main - 704-374-0720
Fax - 704-374-0722

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               Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 87 of 102
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Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 89 of 102
Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 90 of 102
Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 91 of 102
Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 92 of 102
Sent: Tuesday, October 2, 2018 4122 PM
To: William Moormann <William M oo rman n (afd.ors>
Subiect: RE: Telework Agreement

Bill, I have attached the signed form.           rhant<s,!


From: William Moormann
Sent: Tuesday, October 2, 2018 12:06 PM

Subject: FW: Telework Agreement




I still need a siBned copy of the telework agreement back.
The Auditors are in and are wanting to see our active telework agreements.


Thanks
Bill




                                Wcru.n Dt'trl(t ol ilo.th Clrollnr
                                 129 W.st lr.d. Sr, Sult.3(tr



                                     ,74 0720 Far
                                     n0 5889 C.ll


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From: Wrllram Moormann
Sent: Monday, September 10, 2018 11:13 AM
To:                                        ar'f d or s>

               ework Agreement




As you may know, we are going through our cyclical audit. One of the issues that came up is the
requirement to have a PER-30 Telework Agreement for any staff utilizing telework.

I have attached the form PER-30.




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Please fill out line #3 sign and return as soon as possible.

Thanks

Bill




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Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 95 of 102
Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 96 of 102
William Moormann

Fromi
Sentl                               Monday, August 13. 201a 9i15 AM
To:                                 zzNCWml_Clt_Attorneys
Subject:                            whereabouts



SL today.




Federal Public Defender for the Wbstsm Distrrct of North Caro|na
129 \ /est Trade Skeet, Suite 300
Charlofte, North Carohna 28202
Man - 704-37 4-0720
Fax - 704-37 4-0722

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            Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 97 of 102
William Moormann

From:
Sent:                               Friday, August 10, 2018 8:07 AM
To;                                 zzNCWml Clt Staff
Subject:                            whereabouts



SL this mornlng, flex this afternoon.


Sent from !!4!l for Windows 10




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            Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 98 of 102
William Moormann

From:
Sent:                                                             02 AM
lo:                                     zzNCWml AllStaff
Subject:                                Re: Whereabouts



                                                                                                                   2 Thanks,
I
I am still not feelrng well today. I wrll be on AL tomorrow through next Wednesday, returnrng Thursday, August




Research & Writing Attorney
Federal Public Defender for the Western Dtstrict of North Carolina
'129 West Trade Street, Sutte 300
Charlotte, North Caroltn a 28202
Marn - 704-374-0720
Fax - 704-374-0722

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                         712512018 08:09:00 AM---l am strll not feeling well today

From
To Jared P MarI|n/NCWF/04/FDO@FDO
Cc zzNCWmlJllStaff@FDO
Dale 0712512018 08 09 AM
SubJect Re Whereabouts




I am stitt not feeting wetl   today,I
               lflttng Attorney
Federal Public Defender for the Western District of North Carolina
129 West Trade Street, Sulte 300
Charlotte, North Carolrn a 28202
Marn - 704-374-0720
Fax - 704-374-0722

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              Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 99 of 102
William Moormann

From:
Sent:                               Wednesday, July 25,2018 8:09 AM
lo:                                 Jared P Martin
Cc:                                 zzNCWml AllStaff
Subject:                            Re: Whereabouts



I am strll not feelrng well today



Research & Wnhng Attorney
Federal Publrc Defender for the Western Drstnct of North Carolrna
129 West Trade Street, Surte 300
Charlotte, North Caroltn a 28202
Marn - 704-374-0720
Fax - 704-374-0722

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   Jared P Martin--l712512018 05:50.24 AM--Hello, Margaret, Andrew, and I wrll be at the Ashevrlle court and office
today Thanks.

From Jared P Martin/NCWF/04/FDO
To zzNCWml_AllStaff@fd org
Dale 0712512018 05 50 AM
Subl€ct \/Vhereabouts




Hello,

Margaret, Andrew, and I will be at the Asheville court and office today Thanks

Sent from my iPhone




                                                               5

             Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 100 of 102
William Moormann

From:
Sent:                               Tuesday, )uly 24,2018 8:05 AM
To:                                 Kevin Tate
Cc:                                 zzNCWml Clt Staff
Subject:                            Re: Whereabouts




still not feeling well today and will be taking t,-.f

Sent from my iPhone using IBM Verse



On Jul 23, 201"8, 8:28:07   AM,                          wrote:

From:
To: Kevin_Tate@fd,org
Cc: zz NCWm l_Clt_Staff @fd, o rg
Date: Jul 23,20L8,8:28:07 AM
Subject: Re: Whereabouts

I will be on SL   today.I
Sent from my iPhone using IBM Verse



On Ju\22,20L8, !l:4t:4L PM, Kevin_Tate@fd.org           wrote:

From: Kevi n_Tate@fd.org
To : zz NCWm l_Clt_Staff @fd,org
Cc:
Date: Jul 22,20L8, 71.:4L:47 PM
Subject: Whereabouts


I wrll be on leave thrs week but for a few hours Monday afternoon     I wrll have access to emarl or can be reached on my cell
shock the need aflse.

Kevrn A. Tate
Attorney at Law




                                                                  6


            Case 1:20-cv-00066-WGY Document 78-1 Filed 10/02/20 Page 101 of 102
William Moormann

From:                             H RMIS_DO_NOT_REPLY-Help@ao,uscourts.gov

Sent:                             Friday, March 22, 2019 9:45 AM
To:
Subject:


A transfer action has been approved / processed for the employee listed below.


The following actions may be required (if applicable): approve leave requests/timesheets, complete the sF-1j.50, close
employee evaluation in ePerformance.

Name               :

Effective Date
Effective Sequence '. L7
Action       : XFR
Action Reason    : TWJ
Action Reason Description : Transfer within Judlciary
NOACode                :937
NOA Code Description : Transfer to Excepted Term
Transfer to Department : Ao4XXXJS
Department Description : 4th Circuit - judges Staff




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